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UNITED STATES DISTRICT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x

SHAUNA NOEL, and EMMANUELLA SENAT,

                                                             Plaintiffs,
                                                                            15 CV 5236 (LTS) (KHP)
                              -against-

CITY OF NEW YORK,

                                                          Defendant.

----------------------------------------------------------------------- x


    DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
      MOTION FOR PARTIAL SUMMARY JUDGMENT AND IN SUPPORT OF
         DEFENDANT’S CROSS-MOTION FOR SUMMARY JUDGMENT



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February 11, 2021




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                                     PRELIMINARY STATEMENT

        New York City is aggressively and actively promoting the preservation and development

of affordable housing across the city through financing, passing legislation to mandate it with

private investment, and successfully lobbying to expand the availability of tax credits earned

through the development of affordable housing all throughout the city. See Declaration of Vicki

Been, dated August 14, 2020 (“Been Dec.”) (ECF 899) at ¶¶ 25-27. The City has financed the

construction or rehabilitation and preservation of hundreds of thousands of affordable housing

units since the 1980s. See Been Dec. at ¶¶ 22, 24. The City’s continued investment in the

preservation and development of affordable housing is just one crucial part of the many steps the

City has taken to make New York City a more just and equitable place to live for all New

Yorkers.

        In addition to aggressively subsidizing and mandating affordable housing development,

the City is working to address barriers to fair housing. In its Where We Live NYC (“WWL”)

Report, the City set forth concrete steps it will take toward that goal. See Declaration of Frances

Polifione, dated February 11, 2021 (“Polifione Reply. Dec.”) Ex 58 (WWL Report). The

Community Preference policy (“CP policy”), which prevents the displacement of low-income

New Yorkers from their communities and helps address their fear of displacement when new

development comes to their neighborhood is a small, but essential component of those steps.

        Plaintiffs’ (and amicus curiae’s)1 attempt to impose the paradigm of the typical fair

housing case onto this case is like trying to squeeze a square peg into a round hole; it simply

does not work. Unlike the situation in most fair housing cases, the City has subsidized or



1
  This brief is also in response to the brief filed by amicus curiae, the Lawyers’ Committee for Civil Rights Under
the Law (ECF 935).
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supported hundreds of thousands of affordable homes (financing enough affordable housing just

in the past 7 years to house more than 400,000 people, for example), and that housing is

distributed all across the City, in areas that were predominantly white as well as areas with many

Black and Brown residents. Of the projects studied for this case, 2,031 units were located in Dr.

Beveridge’s majority White CD typology, while almost the same number – 2,308 - were located

in majority Black CD typologies. Further, a total of 798 units were located in plurality White CD

typologies while 274 were located in plurality Black CD typologies. Black and Hispanic New

Yorkers disproportionately occupy the City’s affordable housing, even in majority White

neighborhoods. See Reply Declaration of Bernard R. Siskin, PhD., dated February 10, 2021

(“Siskin Reply”) ¶ 95.

       Another key distinction between this case and the typical fair housing case is that much

of the opposition to affordable housing in New York City comes from Black and Brown

communities. The opposition from these communities “is not about race-based exclusion of

others for the purpose of hoarding resources or protecting advantages” (see Declaration of

Edward G. Goetz, dated August 14, 2020, (“Goetz Aug. Dec.”) (ECF 898) at ¶ 79), but is from a

fear of displacement that cannot be understood outside the context of a history of displacement

of Black and Brown communities. See Goetz Aug. Dec. at ¶ 73. Consequently, as the factual

backdrop of this case is wholly different than the typical fair housing case, Plaintiffs’ and amicus

curiae’s attempt to frame this case as analogous is misplaced.

       The City is entitled to summary judgment on each and every claim. Nothing in Plaintiffs’

95-page reply and opposition brief (“Pls. Reply”) or the supporting declarations creates an issue

of fact that precludes granting summary judgment to the City. Contrary to Plaintiffs’ assertion,




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and although the inferences of the evidence must be made in favor of the non-movant,2 summary

judgment can and should be granted to the City on Plaintiffs’ intentional discrimination claim.

Evidentiary inferences must be reasonable, and the inferences Plaintiffs seek to have this court

make are not. Rather, Plaintiffs argue their case by ignoring the evidence (or data) before them,

manipulating the evidence in a self-serving way, attempting to pit their priorities against the

City’s (when no such conflict exists), and making bald declarations of their “truth.”

Significantly, Plaintiffs’ purported evidence of intentional discrimination fails to demonstrate

that the CP policy is responsive to invidious opposition to affordable housing and animus toward

Black and Hispanic New Yorkers, and therefore fails as a matter of law.

           Summary judgment can and should also be granted to the City on Plaintiffs’ disparate

impact and perpetuation of segregation claims. Plaintiffs’ disparate impact analysis is

fundamentally flawed in that it fails to conclude that Black or Hispanic affordable housing

applicants are disparately impacted in their ability to compete fairly for housing, as alleged in the

Second Amended Complaint (“SAC” or “complaint”). Instead, Plaintiffs pursue their case on

behalf of fluid subgroups of the protected class, finding that some Black and some Hispanic

applicants are disparately impacted depending on (1) their CP status (CP beneficiary or non-CP

beneficiary), (2) the racial demographics of where they apply, and (3) the stage of the application

process, while also finding that other Black and Hispanic applicants are not disparately impacted.

Not only is such approach unsupported by the law, it is undisputed that this is the result of Dr.

Beveridge’s “CD typologies” and CP status methodology.

           Dr. Beveridge’s improper methodology and analytical framework leads to outrageous

results. For instance, according to Plaintiffs’ analytical approach, a Black applicant who is not a

2
    Plaintiffs did not move for summary judgment on their intentional discrimination claim.



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CP beneficiary may be injured and part of the protected class when applying to a project in a

majority Hispanic CD typology but not when applying to a project in a majority Black CD

typology, simply because she is the same race as the “dominant” race of the CD typology. Yet,

Plaintiffs somehow conclude that it is the CP policy which has caused this purported injury, even

though the applicant is subject to the “disadvantage” of being a non-CP beneficiary for both

applications. Moreover, Plaintiffs’ own disjointed, manipulated analysis results in a finding that

61.20 % of apparently eligible applicants are not disparately impacted by the CP policy. See

Declaration of Bernard R. Siskin, Ph.D., dated August 13, 2020 (“Siskin Aug. Dec.”) (ECF 897)

Table 1. Plaintiffs do not dispute these numbers. See Reply Declaration of Andrew A. Beveridge,

dated October 29, 2020 (“Bev. Reply”) (ECF 914) ¶¶ 71-72.

       As to Plaintiffs’ claims of perpetuation of segregation, Plaintiffs have presented no case

law to support their proposition that reducing the amount of potential integration constitutes

perpetuation of segregation and, thus, the City is likewise entitled to summary judgment

dismissing this claim. It is undisputed that the lottery with the CP policy has an integrative effect,

and that both CP beneficiaries’ and non-CP beneficiaries’ moves, as a result of being awarded an

affordable housing unit through the lottery, are net integrative. While it is true that the lottery

would be trivially more integrative without the CP policy, as a matter of law this fact does not

dictate a finding of perpetuation of segregation. Moreover, such a definition of “perpetuating

segregation” would require governmental decision-making to focus first and foremost on

promoting the maximum amount of integration at the expense of other critical policies. That

flies in the face of the Supreme Court’s warning that “[t]he FHA is not an instrument to force

housing authorities to reorder their priorities.” Tex. Dep’t of Hous. & Cmty. Affiairs v. Inclusive

Cmtys. Project, 135 S. Ct. 2507, 2522 (2015) (“Inclusive Communities”).



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       Even if achieving less than the maximum possible integration could constitute

“perpetuation of segregation,” the amount of “less integration” the CP policy causes is trivial,

and thus not legally significant. Plaintiffs’ efforts to demonstrate that the CP policy significantly

perpetuates segregation are strained beyond the breaking point. Plaintiffs’ expert undertook no

independent perpetuation of segregation analysis, accepted Dr. Siskin’s findings, but then recast

those findings in a misleading and exaggerated manner.

       Plaintiffs spend a significant amount of time attacking the City’s disparate impact and

perpetuation of segregation analyses, mostly with name calling and mischaracterizations.

However, they seem to forget that they moved for summary judgment on these claims (ECF

892), and that it is their burden of proof to establish a prima facie case. This Court can find that

Plaintiffs failed to meet their burden without even considering whether the City’s analyses were

proper. Nevertheless, the City offered a proper disparate impact and perpetuation of segregation

analysis as a means to better demonstrate the flaws in Plaintiffs’ analyses, and to give the Court

assurances that when done properly, the analysis shows that the CP policy does not in fact cause

a disparate impact or perpetuate segregation. Indeed, according to Dr. Siskin’s analysis, Black

apparently eligible applicants’ consideration rate is 97.97% of the consideration rate of White

apparently eligible applicants, see Siskin Aug. Dec. Table 3, and if the CP policy were not in

place, only 141 (or 3.9%) more awards would have gone to Black applicants. See Siskin Aug.

Dec. Table 4. And, as noted above, even with the CP policy in place, the lottery has an

integrative effect. In fact, it is undisputed that even in Dr. Beveridge’s majority White CD

typology, the demographics of those that reside in lottery housing is much more diverse than the

demographics of those living in the neighborhood around the housing. See Siskin Aug. Dec. ¶

147.



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           Plaintiffs’ ever-expanding analysis and briefing at each stage of the summary judgment

process reflects their desperation to overcome these undisputed facts.3 As noted in the City’s

August 14, 2020 brief (“initial brief” or “City’s Aug. Brief”) (ECF 902) at 33 and 49, Plaintiffs’

expert Dr. Beveridge presented a significant amount of analysis never disclosed during expert

discovery.4 In his reply declaration, Dr. Beveridge has yet again introduced more new analysis,

also never disclosed during expert discovery. 5 In addition to this new analysis, Dr. Beveridge

attacked the City’s use of the simulation for the first time, alleging that the simulation results are

“diluted.” These new analyses, arguments, and the conclusions drawn from them are not

admissible and should be struck from the record. See Federal Rules of Civil Procedure

(“F.R.C.P.”)26(a)(2)(B) and (D) and 37(c)(1); Point Prods. A.G. v. Sony Music Entertainment,

Inc., 2004 U.S. Dist. LEXIS 2676, at *32 (S.D.N.Y. Feb. 20, 2004) (finding that expert affidavits

that contain new analysis and opinions that are submitted after the close of discovery would

“eviscerate the purpose of the expert disclosure rules.”); U.S. v. City of N.Y., 637 F Supp. 2d 77,

107-108 (E.D.N.Y. 2009) (finding that when City’s expert presented new opinions at summary

judgment stage, plaintiffs would have been prejudiced to respond at that stage of the litigation

and thus the expert opinions were excluded.); Rose v. City of Utica, 2018 U.S. Dist. LEXIS

220803, at *25-26 (N.D.N.Y. Apr. 19, 2018) (finding that plaintiffs’ expert’s new opinions

presented for the first time in opposition to a motion for summary judgment were improper and

3
  A list of the new analyses and opinions presented during the summary judgment briefing and which should be
struck from the record is set forth as Exhibit 64 to the Polifione Reply Dec. There is no reason Dr. Beveridge could
not have undertaken this analysis or expressed these opinions during expert discovery. Other than in one instance, as
discussed in footnote 45, infra, Dr. Beveridge does not even attempt to justify his new analysis. Dr. Beveridge’s
expert disclosures, which do not contain the analyses or opinions set forth in Ex. 64, are annexed to the Declaration
of Frances Polifione, dated August 14, 2020, (“Polifione Aug. Dec.”) (ECF 903 and 905) as Exs. 46-48.
4
    Notably, Plaintiffs do not dispute this, as they cannot.
5
 In fact, eight of the ten tables in his reply Declaration contain analysis findings that were not previously disclosed.
Clearly acknowledging that they undertook new analysis, Plaintiffs produced the back up programs for this new
analysis, as had been exchanged by the parties during expert discovery.



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excluded.); In re Motel 6 Secs. Litig., 161 F. Supp. 2d 227, 243 (S.D.N.Y. 2001) (holding that

“Rule 37 mandates that a party is precluded from using evidence which was not properly

disclosed during discovery”); Nippo Corp./International Bridge Corp. v. Amec Earth & Envtl.,

2011 U.S. Dist. LEXIS 34994, at *16-18 (E.D. Pa. Mar. 30, 2011) (striking opinions that were

not disclosed during expert discovery); 7 Moore’s Federal Practice § 37.60(1) (2000) (explaining

the preclusion sanction and the incentives and need for full disclosure under Rule 26).

Nevertheless, the City addressed the new material in its initial brief, and also addresses it herein.

        The City is entitled to summary judgment dismissing the disparate impact and

perpetuation of segregation claims because Plaintiffs have failed to meet their burden to establish

a prima facie case. But even if the Court found an issue of fact with regard to one or both

claims, the City is entitled to summary judgment because the CP policy is necessary to achieving

legitimate governmental interests, namely preventing displacement of low-income residents from

their neighborhoods and addressing their fear of displacement. Plaintiffs’ unsupported arguments

about the legitimacy of the City’s interests blatantly disregard the ample evidence the City

presented to the Court. Plaintiffs try to create a false choice between addressing displacement

and prioritizing other goals. The City can and does address multiple priorities at once. Having

other policy priorities does not reduce the substantiality of the City’s interest in preventing

displacement and overcoming the fear of displacement from one’s neighborhood.

        Moreover, Plaintiffs still fail to present case law to support the evidentiary standard they

seek to impose, as there is none. Instead, Plaintiffs spend a significant amount of time briefing

why the 2020 HUD disparate impact rule6 should not be applied in this case. Yet, the validity of


6
  In 2013, HUD issued a rule setting forth the standard and burden shifting for a disparate impact claim under the
Fair Housing Act. See 24 C.F.R. § 100.500 (2013) annexed as Ex. 1 to the Oct. 29, 2020 Gurian Dec. In 2020, HUD
repealed that rule and passed a new disparate impact rule. See 24 C.F.R. § 100.500 (2020). Implementation of the



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the 2020 HUD rule is not before this Court. Contrary to Plaintiffs’ assertions, the City did not

argue that the new HUD rule is the applicable law.7 The City’s arguments are grounded in the

case law, whereas Plaintiffs’ are not.

        Finally, Plaintiffs have failed to meet their burden to establish that there are less

discriminatory alternatives that meet the City’s interests. Plaintiffs present no evidence that any

of their proposals are less discriminatory, let alone how much less discriminatory. Nor do any of

the alternatives they propose address the City’s interests for having the CP policy whatsoever,

and even are based upon delegitimizing those interests. Consequently, as Plaintiffs have failed to

meet this burden of proof as a matter of law, even if the Court were to find a question of fact on

the first prong of the disparate impact or perpetuation of segregation analysis, the City is

nonetheless entitled to summary judgment dismissing all the claims asserted in the SAC.

                                              ARGUMENT

                                                 POINT I

                         PLAINTIFFS    CANNOT     ESTABLISH
                         INTENTIONAL DISCRIMINATION

        Plaintiffs’ arguments and “evidence” in support of their intentional discrimination claim

ignore the context of the City’s programs and policies to provide affordable housing in safe,

thriving neighborhoods across the City, to ensure equal access to quality housing and

neighborhood amenities to all, and to prevent displacement and housing instability for the most

vulnerable New Yorkers. The evidence of those programs and policies show that the City has

consistently worked toward creating a more equitable and just city. See Polifione Reply. Dec. Ex


new HUD rule has been stayed. See Massachusetts Fair Hous. Ctr. v. U.S. HUD, 2020 U.S. Dist. LEXIS 205633 (D.
Mass. Oct. 25, 2020).
7
  In fact, the entire issue may soon become moot as the Biden administration directed HUD to reassess its 2020
disparate impact rule. See (last accessed February 10, 2021).



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58 (WWL Report), Ex 62 (Housing New York (“HNY”)), Ex 63 (HNY 2.0), Ex 59 (HNY Three

Years of Progress Report); see also, Polifione Aug. Dec. at ¶¶ 64-65.

         Indeed, Plaintiffs fail to address, or even acknowledge, the City’s extensive and

aggressive efforts to preserve and build new affordable housing throughout the city. In addition

to providing financial subsidies and leveraging City-owned property for the development of

affordable housing, the City has programs in place to incentivize and mandate private investment

in affordable housing, including in high-cost, amenity rich neighborhoods. See Been Dec. at ¶¶

17, 25-26. Despite the hundreds of documents produced during discovery about this

administration’s ground-breaking legislative reform mandating the development of affordable

housing (Mandatory Inclusionary Housing or “MIH”), Plaintiffs’ papers fail to mention this or

any of the other components of the City’s housing plan, which has successfully resulted in the

preservation of 120,852 and the construction of 57,119 affordable housing units as of December

31, 2020.8

         Further, Plaintiffs’ fail to discuss or acknowledge the WWL process and reports, except

in those circumstances in which they believe it is helpful to them. WWL was a voluntary, 24-

month-long process that resulted in a final report setting forth the City’s comprehensive

assessment of the inequities that continue to be a legacy of past discrimination and segregation,

and its specific strategies for overcoming those inequities.9 Through this process, the City


8
  See https://www1.nyc.gov/site/housing/action/by-the-numbers.page (last accessed February 9, 2021). In addition to
MIH, the City has had a voluntary inclusionary housing program in place since the Bloomberg administration,
incentivizing developers to build affordable housing in high-cost areas. Similarly, the City has successfully lobbied
the State to expand its tax credit program which incentivizes the private development of affordable housing in
conjunction with luxury housing. For a more complete explanation of the City’s housing initiatives please see Been
Dec. at ¶¶ 12, 25 -26.
9
  WWL began as part of the City’s compliance with the HUD requirement to undertake an Assessment of Fair
Housing. However, prior to the Spring 2018 public launch of the WWL process, the Trump administration
suspended the requirement. The City chose to proceed with the WWL process.



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engaged thousands of New Yorkers through activities such as stakeholder meetings, focus

groups in 15 languages, multi-media displays in public spaces, public hearings, and solicitation

of feedback through HPD’s website, in order to identify and address ongoing and complex

barriers to fair housing. See Been Dec. at ¶ 29. This process included directly addressing the

history of segregation, identifying barriers to integration, and defining what an integrated

community means to New Yorkers. It tackled tough questions about fair housing, taking a

holistic approach by considering the many dimensions to fair housing beyond actual housing,

such as access to transportation, environmental health, schools, crime, and open space. See

Polifione Reply Dec. Ex 58 (WWL Report) and Ex 61 (WWL Community Conversations).

       Plaintiffs’ argument that the CP policy could maintain the racial “status quo” is

nonsensical. The CP policy only applies to 50% of the affordable housing units in affordable

housing projects, thus, the other 50% of the units will be filled by applicants from anywhere in

the city. Further, units awarded through the CP policy are not subject to the CP policy upon re-

rental. See Been Dec. at ¶ 63. Even if all the CP units in a project were to go to the majority race

in the area where the project was built, which the analysis demonstrates is not the case, the

impact that would have on the racial demographics of the neighborhood would be de minimis

and temporary. Further, the racial demographics of many New York City neighborhoods have

changed significantly in the past thirty years. See Reply Declaration of Edward Goetz, dated

February 10, 2021 (“Goetz Reply) ¶ 32. Consequently, the underlying premise of Plaintiffs’

intentional discrimination case is unfounded.

       Plaintiffs attempt to paint a picture of a City government that is afraid to address issues of

race and segregation, to create an inference that the City is hiding its true discriminatory motive

regarding the purpose of the CP policy. Plaintiffs’ efforts are so strained, and the inferences they



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make so unreasonable, that the City is entitled to summary judgment dismissing Plaintiffs’

intentional discrimination claim.

A.       Preliminary Matters

         Two preliminary matters must be addressed before we turn to the specific issues. First,

Plaintiffs are arguing that they can demonstrate intentional discrimination by merely showing

that the challenged “action [is] premised on race,” Pls. Reply at 73, and that they do not need to

demonstrate animus. However, the three cases Plaintiffs rely upon, set forth in footnote 243 of

their reply brief, are not FHA cases, but were brought pursuant to 42 U.S.C. Section 1981.10

Section 1981 does not prohibit discrimination, as does the FHA, but prohibits specific conduct.

The cases Plaintiffs rely upon clarify that discriminatory animus need not be established for a

Section 1981 claim, but when it comes to the FHA, the Second Circuit has clearly articulated that

one must make “a showing of animus...” MHANY Mgt. v. County of Nassau, 819 F.3d 581, 606,

611 (2d Cir. 2016). While Plaintiffs quote this same language, they are trying to get this Court to

adopt a standard that is contrary to the Second Circuit’s explicit holding.11 See Pls. Reply at 73.

         Second, Plaintiffs have improperly tried to expand their briefing by making their

arguments about intentional discrimination in the appendix to their response to the City’s 56.1

Statement. Instead of explaining why and how they believe their evidence shows intentional

discrimination on the part of the City in their 95 page brief, they devote 33 pages in their 56.1

response appendix to arguments about why the evidence presented in the appendix proves intent


10
  Goodman v. Lukens Steel Co., 482 U.S. 656 (1987); Weiss v. La Suisse, 141 F App’x 31 (2d Cir. 2005); Ferrill v.
Parker Group, Inc., 168 F3d 468 (11th Cir. 1999).
11
   Plaintiffs’ reliance upon Cadet-Legros v. N.Y. Univ. Hosp. Ctr., 135 A.D.3d 196 (1st Dep’t 2015) is likewise
misplaced. Although the HRL provides for a lesser standard on what a plaintiff must present in order to proceed
with a pretext argument, the HRL still requires a plaintiff to present some evidence that the reason for the action is
false, misleading or incomplete. As will be discussed below, Plaintiffs have failed to present even the bare bones of
evidence to link any pretext to the reasons for the CP policy.



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to discriminate. This is improper, as a response to a 56.1 Statement should not contain argument.

See Vaughn v. Empire City Casino, 2017 U.S. Dist. LEXIS 109742, at *2, n 1 (S.D.N.Y. July 14,

2017) (“A 56.1 statement is not an opportunity to present arguments that do not fit in the

briefing”); Meredith Corp. v. Sesac, LLC, 1 F Supp. 3d 180, 186, n 3 (S.D.N.Y. 2014) (“many of

plaintiffs’ responses [to the 56.1 Statement] consist of improper argument or recitations of

different facts.”) (emphasis added); Trustees of the Local 8A-28A Welfare Fund v. Am. Group

Adm'rs, 2017 U.S. Dist. LEXIS 137365, at *11 (E.D.N.Y. Aug. 25, 2017) (“The Court disregards

any legal arguments in the 56.1 Statements; such arguments should be limited to the memoranda

of law.”). Thus, any argument contained in Plaintiffs’ response to the City’s 56.1 Statement or in

the appendix to the response should be disregarded by the Court,12 and has not been directly

addressed by the City.13

B.         Knowledge of Race-Based Resistance to Residential Racial Change is Not “Knowing
           Responsiveness”

           Plaintiffs attempt to demonstrate intentional discrimination by arguing that the city

knowingly responded to race-based opposition to affordable housing through the CP policy.

Plaintiffs apparently are disputing that the CP policy is responsive to opposition stemming from

the fear of displacement, and asserting that it is in actuality in response to race-based opposition.

Plaintiffs desperately search for evidence to support that theory, but find none.

           Plaintiffs first argue that the City was and is aware of “extensive” race-based resistance to

integration among New Yorkers. Pls. Reply at 75. The City has never denied that some

opposition to the development of affordable housing may be race-based, but has disagreed about


12
  Nor should Plaintiffs be permitted to incorporate such argument into their sur-reply memorandum of law. That
would be highly prejudicial to the City as it would not have the opportunity to respond to such arguments.
13
     The City only responded to arguments that were set forth in the brief.



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the extent of such opposition and whether specific instances of opposition were in fact race-

based.14 But awareness that some opposition to affordable housing may be race-based is not

proof that the City intended to discriminate by adopting the CP policy. See Congregation

Rabbinical College of Tartikov, Inc. v. Vill. of Pomona, N.Y., 945 F.3d 83, 116 (2d Cir. 2019)

(“municipalities may resist development pressures for legitimate reasons unrelated to

discriminatory animus.”).

         Instead, Plaintiffs’ evidence must demonstrate that the City has been knowingly

responsive to race-based resistance through the CP policy. See MHANY 819 F.3d at 606, 611-612

(concluding that the correct standard was whether “City officials knowingly acquiesced to race-

based citizen opposition.”). Plaintiffs have no such evidence. Indeed, it is telling that almost all

of the documents Plaintiffs rely upon as proof that the City was aware of race-based opposition,

contain no mention of the CP policy whatsoever.15

         Plaintiffs point to a single document, created by a community organization and not the

City, that connected the desire to maintain a Latino identity with the CP policy. Plaintiffs fail to

share the testimony about what occurred when the City became aware of the misrepresentation

by the community organization—namely that the City required that the flyer be corrected. See

Polifione Reply Dec., Ex 70 (Brown Deposition at 230:7- 234:11).

         This case is unlike United States v. Yonkers Board of Education, 837 F.2d 1181 (2d Cir.

1987), cert. denied, 486 U.S. 1055 (1988), or MHANY, where courts found that the decision

14
  See e.g., Polifione Reply Dec., Ex 67 (Been I Deposition at 111:8-124:17, 154:23-162:23, 166:3-172:18); Ex 68
(Been II Deposition 21:4-23:5); Ex 70 (Brown Deposition at 141:8-143:8, 231:6-234:11); Ex 74 (Donovan
Deposition at 133:16-134:10); Ex 75 (Weisbrod Deposition at 99:22-102:22).
15
  The only example of race-based opposition to affordable housing that the amicus curiae cites is an article from the
1970s, which also makes no mention of the CP policy (as it had not yet been adopted). Clearly if this were a regular
phenomenon in New York City (and one which would necessitate the implementation of the CP policy), they would
have located an article addressing it that is less than fifty years old.



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makers refused to approve affordable housing in response to race-based opposition. In MHANY,

there was a sudden shift in the village’s approach to the rezoning necessary for the affordable

housing soon after residents’ race-based opposition was voiced. In Yonkers, councilmembers

acknowledged that they were responsive to race-based opposition, and one even admitted that his

opposition was “pretextual.” See Yonkers, 837 F.2d at 1221. In fact, the District Court found that

not only were councilmembers responsive to the race-based opposition, but some even “led the

fight.” Id. at 1223. The evidence in this case could not be more different.

       Here, the CP policy helps get affordable housing built. The City has not “knowingly

acquiesced to race-based citizen opposition” in order to block affordable housing, but instead

adopted the CP policy to provide the opportunity for existing residents to not be displaced from

the neighborhood. MHANY, 819 F.3d at 612. There is ample evidence of the City’s legitimate

governmental interests behind the CP policy—preventing displacement and responding to the

fear of displacement.

       Even the evidence Plaintiffs rely upon shows the City is not acquiescing to race-based

opposition. Specifically, Plaintiffs point to a draft memorandum from HPD, see Ex. 36 (ECF

916-36) to the November 5, 2020 Declaration of Roger G. Maldonado (“MD”), which Plaintiffs

acknowledge was intended to help “get various outside actors to push back against a CM’s

resistance to an affordable housing project.” Pls. Reply at 78. While Plaintiffs focus on a single

comment in the document in support of their argument that the City is “fraught” to address

desegregation, see Pls. Reply at 79, the draft memorandum shows otherwise. It is an example of

HPD actively working to overcome opposition to a project that HPD had reason to believe was

based, at least in part, in discriminatory motive. It demonstrates that HPD sought to confront the

exclusionary nature of the opposition, not appease it. Significantly, reminding the CM of the CP



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policy was not a strategy included on the memorandum, even though the drafters of the memo

clearly believed there was a race-based exclusionary component to the opposition.16

         Thus, even accepting that some of those opposing affordable housing may be racially

motivated, proving that such opposition exists is not enough to defeat summary judgment as

Plaintiffs have failed to provide evidence to show or allow a reasonable inference that the City

was knowingly responsive to this discriminatory opposition through the use of the CP policy. See

Village of Arlington Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252, 269-70 (1977)

(although the District Court found that some opponents of plaintiffs’ requested zoning change

“might have been motivated by opposition to minority groups,” the evidence evaluated by the

Supreme Court did not warrant the conclusion that this motivated defendants). To the contrary,

the evidence, and common sense, clearly demonstrate that the CP policy is not responsive to

such opposition.

         Plaintiffs insist that the case law necessitates that summary judgment be defeated because

the inferences must be read in favor of the non-movant. While it is true that in assessing whether

there is an issue of fact courts should resolve ambiguities and draw inferences against the

moving party, the inferences drawn must be reasonable.17 See Valenti v. Penn Mut. Life Ins. Co.,

850 F Supp. 2d 445, 448 (S.D.N.Y. 2012) (mere speculation was not enough to warrant

inferences in the non-movant’s favor.). The Court cannot make unreasonable inferences in

16
  The project was withdrawn by the developer, although a smaller affordable housing development, responsive to
the council members’ concerns about the height of the building first proposed, is now working its way through the
approval process. The smaller project has received the support of the local community board. See
https://jacksonheightspost.com/phipps-rezoning-application-faces-headwinds-developer-slammed-at-public-hearing
(last accessed February 9, 2021).
17
   Amicus curiae quotes a case stating the same. However, it then goes on to argue that this standard is “especially
crucial” because it is difficult to prove discriminatory intent before discovery. Amicus brief at 21. Amicus curiae is
clearly unaware of the extensive discovery in this case over more than three years, including the production of over
27,000 documents, 23 fact depositions, and multiple days of 30(b)(6) depositions from multiple witnesses. See
Polifione Aug. Dec. at ¶ 68 and Polifione Reply Dec. at ¶ 30.



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Plaintiffs’ favor, or ignore evidence that has been presented in order to make inferences

favorable to the non-movant. See Richardson v. City of N.Y., 2020 U.S. Dist. LEXIS 181491, at

*21-22 (S.D.N.Y. Aug. 24, 2020); Berk v. St. Vincent's Hosp. & Med. Ctr., 380 F Supp. 2d 334,

342, 345-46 (S.D.N.Y. 2005) (the non-movant cannot “pick and choose” which parts of the

record the Court should credit to create an issue of fact). A non-moving party must present more

than conclusory allegations, some “metaphysical doubt,” mere speculation or conjecture, or

reliance on the allegations or denials of the pleadings to show there is a genuine issue of fact for

trial or to oppose and succeed on summary judgment. Farley v. Davis, 1994 U.S. Dist. LEXIS

5589, at *9-11 (S.D.N.Y. Apr. 29, 1994) (internal citations omitted). See also Gallagher v. St.

Paul 619 F.3d 823 (8th Circuit 2010) (“Merely calling these statements evidence of racial animus

is not enough to create a genuine dispute of fact.”); AD/SAT v. Associated Press, 885 F Supp.

511, 517-518 (S.D.N.Y. 1995).

       Plaintiffs here are asking for more than a reasonable inference in their favor. They are

asking the Court to infer merely from the existence of some race-based opposition to affordable

housing that a policy that encourages affordable housing by being responsive to opposition due

to the fear of displacement is a response to such invidious opposition. Moreover, the inferences

they seek to make are based upon their unreasonable interpretations of the documents and their

unsupported conclusions. Simply put, Plaintiffs cannot rely upon “inferences” to substitute for

their lack of evidence forming a nexus between the CP policy and the race-based opposition in

order to defeat summary judgment. See Congregation Rabbinical, 945 F.3d at 118 (rejecting an

inference of discriminatory intent based upon the “mere facts” that the project was proposed by

Hasidic Jews and opposed by the municipality). As Plaintiffs have presented no evidence or




                                                16
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evidence that could result in a reasonable inference to support Plaintiffs’ theory that the CP

policy is responsive to race-based opposition, the City is entitled to summary judgment.

C.       “Political Sensitivity” Around Desegregation is Not Evidence of Intentional
         Discrimination

         Plaintiffs next argue that the Court should infer discriminatory intent behind the CP

policy because the City has treated desegregation as “fraught.” Plaintiffs cite to no case law to

support that such a showing is an appropriate inference of discriminatory intent, nor is the City

aware of any such case law. Moreover, acknowledging political sensitivity and not acting

because of that political sensitivity are two very different things. Despite the “political

sensitivity,” the same evidence Plaintiffs rely upon also demonstrates that the City still sought to

address fair housing issues, including segregation.

         Plaintiffs heavily rely upon HPD’s “Preliminary Guide to the Assessment of Fair

Housing,” which was just that—an early, brainstorming document about the fair housing issues

that would need to be addressed in the City’s then-required Assessment of Fair Housing

(“AFH”).18 See Polifione Reply Dec. Ex 72 (Matthew Murphy Deposition at 84:22-85:17), Ex 73

(Declaration of David Quart at ¶¶ 7-13). The City confronted the barriers raised in the

preliminary guide head on during the WWL process, even though President Trump’s HUD

suspended the requirement to undertake an AFH. See Polifione Reply Dec. Ex 58 (WWL Report

18
   Plaintiffs’ attempt to use documents such as this document which are part of the City’s efforts to overcome
barriers to fair housing against the City as “evidence” of intentional discrimination is contrary to public policy and
should not be countenanced. Efforts by governments to address discrimination and other issues of public policy
concern should not be used against them, akin to how remedial measures are not admissible to demonstrate liability.
See e.g.,. Grewcock v Yale-New Haven Health Servs. Corp., 2018 US Dist LEXIS 34850 at *8 (D Conn Mar. 4,
2018); Mhany Mgt. v Inc. Vil. of Garden City & Garden City Bd. of Trustees, 985 F Supp 2d 390, 415-16 (EDNY
2013) (giving little weight to the adoption of an anti-discrimination policy when assessing whether there is evidence
of intentional discrimination).McLaughlin v. Diamond State Port Corp., 2004 U.S. Dist. LEXIS 26351 *11 (D. Del.
Dec. 30, 2004) (finding evidence of a defendant's attempt to reverse allegedly discriminatory practices inadmissible
and stating that “[i]t would be perverse indeed if attempts to reverse discrimination could be used to condemn a
defendant.”).




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at 10). The City also specifically addressed the continuing problem of segregation in the HNY

plan, and made fostering diverse and livable neighborhoods its first priority. See Polifione Reply

Dec. Ex 62 (HNY at 27).

         Additionally, Plaintiffs’ reliance upon HPD’s draft memorandum intended to help

overcome opposition to affordable housing is misplaced. See Ex. 36 to MD. In addition to the

reasons discussed above, Plaintiffs chose to exclude Deputy Mayor Been’s testimony explaining

why she included the comment Plaintiffs point to as their evidence that the City is “fraught” to

address issues of segregation (that there should not be a mention of FHA violations). See MD Ex

36. In sum and substance, Deputy Mayor Been explained that she did not believe speaking in

legal terms would be persuasive and that avoiding those terms would move the substance of the

conversation along more productively. See Polifione Reply Dec Ex. 67 (Been Deposition I at

196:10-197:24). Thus, the evidence demonstrates that the City squarely took on the challenge of

developing strategies to overcome the legacy of racial discrimination and segregation. The fact

that the City recognized the “fraughtness” of those issues shows a practical approach to moving

forward most successfully, not a desire to avoid the issues.

D.       The City Did Not Depart from Its Normal Decision Making19

         Plaintiffs also attempt to demonstrate an inference of discriminatory intent behind the CP

policy through an alleged deviation from “normal” agency procedures. This is a clear indication

of the weakness of their “evidence” and their desperation to create an illusion of discrimination.

Plaintiffs’ argument predominantly rests on a quote from a news article that said HPD


19
  Plaintiffs also seek an inference of intent from the purported disparate impact and perpetuation of segregation they
claim is caused by the policy. The City clearly disputes that there is a disparate impact or perpetuation of
segregation caused by the CP policy. Moreover, to the extent the Court finds no disparate impact or perpetuation of
segregation, one must wonder how there can be a finding of intentional discrimination if there has been no finding
of disparate impact (or discrimination) in the first instance.



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commissioners collected facts and weighed options in making decisions on how to juggle the

multiple goals and interests of the agency. See MD Ex. 39, Pls. Reply at 80. Plaintiffs then

conclude that because a perpetuation of segregation analysis was not undertaken when the CP

policy was expanded in 2002 that this was a shift from normal practice. Nothing in the article

states (nor have Plaintiffs proven otherwise) that the City regularly performs perpetuation of

segregation analyses to evaluate policies20 or that the City has an obligation to do so but did not

do so in the context of the CP policy. 21 Plaintiffs also point to two comments on proposed

Consolidated Plans; Annual Performance Reports22 alleging that the CP policy perpetuates

segregation, and asserts that because the City did not substantively respond to those comments,

the City is not following normal procedure. See Pls. Reply at 81. However, Plaintiffs have not

established that the City substantively responded to each and every comment on draft AFFH

statements, but disregarded the comments about the CP policy. No matter how favorably the

Court is to consider the non-movant’s evidence, no reasonable inference can be drawn that the

City failed to follow the normal procedures when expanding and maintaining the CP policy.

E.         Other Policies are not Evidence of Intent

           Plaintiffs also attempt to convince the Court that the City has intentionally discriminated

through the CP policy by pointing to other policies that they claim are “segregation-

perpetuating,” that the City has not remedied. See Pls. Reply at 82. Plaintiffs specifically point to


20
   From a purely practical standpoint Plaintiffs argument that such analysis was, or should have been, part of the
City’s normal practice is ridiculous. The disparate impact and perpetuation of segregation analyses for this litigation
were the result of many hours of complex and costly work by experts, which could never be undertaken on a regular
basis. Moreover, the data for such analyses came from the City’s housing connect database, which was only first
introduced in 2012. Prior to that time, the city did not have an electronic database from which it could undertake
such analysis, nor did it have all the data necessary to undertake such an analysis. .
21
  In fact, the Courts have held such analysis is not required. See Churches United for Fair Hous., Inc. v. De Blasio,
180 A.D.3d 549 (1st Dep’t 2020).
22
     These are City submissions to HUD. Plaintiffs refer to them as “AFFH statements,” see MD Exhibits 42 and 43.



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zoning changes made during the Bloomberg administration and HPD’s siting of affordable

housing. Plaintiffs’ reliance upon these other policies as circumstantial evidence regarding the

intent behind the CP policy is misplaced. These policies are well beyond the scope of relevant

circumstantial evidence. Although the Second Circuit in Yonkers considered past decisions

regarding the siting of subsidized housing, that case was brought as a “pattern and practice” case

about the siting of affordable housing. Yonkers, 837 F.2d at 1192. This case is not siting case nor

a “pattern and practice” case, and thus looking beyond the discrete policy challenged is not

warranted. Indeed, Magistrate Judge Parker denied discovery on these issues, deeming them too

attenuated to necessitate discovery. Moreover, the Arlington Heights factors focus on the history

and process related to the policy or practice that is allegedly discriminatory. Arlington Heights,

429 U.S. at 267-68.

         Additionally, there has not been a finding that the City’s zoning changes under the

Bloomberg administration or the City’s siting policies have perpetuated segregation. Plaintiffs

have not proven this to be the case, nor is this summary judgment motion the place for the parties

to litigate those issues.23 Plaintiffs’ self-serving conclusory opinion about the impact of these

policies is insufficient to serve as circumstantial evidence of discriminatory intent or to create an

issue of fact.24 See Eastway Constr. Corp. v. New York, 762 F.2d 243, 249 (2d Cir. 1985) (“The



23
  The City disputes Plaintiffs’ characterizations of these policies. To the extent Plaintiffs are relying upon the maps
annexed to Dr. Beveridge’s reply declaration, Exhibits 12-17, those maps show where projects subsidized by the
U.S. Department of Housing and Urban Development (HUD) are located -- not HPD, nor the City. While there is
some overlap between HUD and HPD projects, they are by no means the same, and thus the maps in Exhibits 12-17
do not represent the location of HPD’s affordable housing projects. Dr. Beveridge’s Exhibit 18, as well as the map
on HPD’s website at https://www1.nyc.gov/site/hpd/about/the-housing-plan.page (last accessed February 9, 2021),
better reflect the siting of HPD’s recent projects since 2014. Moreover, Plaintiffs’ characterization of the Bloomberg
era “downzonings” lacks nuance and accuracy. See Polifione Reply Dec., Ex 69 (Kapur Deposition at 43:15 – 47:7).
24
   Plaintiffs’ reliance upon a statement that the City does not have a policy targeted at ending residential segregation
is also meaningless. Plaintiffs have not asserted that the City has an obligation to have such a policy, nor does it
have an obligation to have such a policy. Moreover, Plaintiffs conveniently ignore the City’s aggressive housing



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mere existence of factual issues -- where those issues are not material to the claims before the

court -- will not suffice to defeat a motion for summary judgment. Moreover, in opposing a

motion, a party may not rest upon mere conclusory allegations or denials.... (internal citations

and quotations removed)).

F.      There is No Evidence of Pretext or Consciousness of Guilt

        Plaintiffs’ last point, addressing pretext and “consciousness of guilt,” is in actuality the

crux of Plaintiffs’ intentional discrimination case. Recognizing that the evidence does not

support their argument that the City has intentionally discriminated through the maintenance of

the CP policy, Plaintiffs now argue that the City’s rationales are pre-textual. Again, Plaintiffs’

efforts fall short of creating an issue of fact to defeat summary judgment.

        First, Plaintiffs’ evidence of pretext comes down to 1) the City’s acknowledgement that

the rationale for the CP policy has “evolved” over the last thirty years; 2) Plaintiffs’ assertion

that the policy is overbroad, such that it may help others in addition to the people it is directed at;

3) that a City employee was trying to gather evidence to support the rationale during the

litigation; and 4) that the Deputy Mayor expressed an opinion about the CP policy that Plaintiffs

disagree with. See Pls. Reply at 83-84. There is no reasonable inference from this evidence that

could support a finding that the City’s interests in addressing displacement and the fear of

displacement are pre-textual. Nor is there any evidence of animus that may lead one to question

whether the rationales are pre-textual in the first place. This is particularly true in light of the

overwhelming evidence supporting the City’s rationales for the policy, including Plaintiffs’ and

Plaintiffs’ experts’ acknowledgments that displacement is a serious public policy concern that



plan and the fair housing work the City pursues. See Polifione Aug. Dec. at ¶¶ 62-66; Polifione Reply Dec., Exs 58
and 62 (WWL Report and HNY).



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necessitates a governmental response. See Polifione Reply Dec. Ex 78 (Senat Deposition at

151:17-152:13; 167:6-12), Ex 79 (Beveridge Deposition at 33:19-35:18), Ex 80 (Orfield

Deposition at 52:21-56:20).

       Plaintiffs next attempt to demonstrate pretext through what they believe is evidence of

“consciousness of guilt.” An inference of consciousness of guilt is established only once it has

been demonstrated that the defendant lied or was misleading in its defense. See Bennett v. Health

Mgt. Sys., Inc., 92 A.D.3d 29, 43 (1st Dep’t 2011) (stating that once evidence is proffered that

there is a false, misleading or incomplete reason, then the determination of whether such

evidence constitutes proof of consciousness of guilt, an attempt to cover up the alleged

discriminatory conduct, or an improper discriminatory motive that was mixed with other

legitimate reasons goes to the jury.); Brown v. Crowdtwist, 2014 U.S. Dist. LEXIS 52067

(S.D.N.Y. Apr. 15, 2014). Plaintiffs have not established that any of the “evidence” they claim is

false or misleading, is in fact false or misleading. They simply assume it is. However, Plaintiffs

cannot succeed by merely stating that they do not agree with a statement or document or by

calling it false. See Valenti, 850 F Supp. 2d at 448 (“the nonmoving party must produce evidence

in the record and ‘may not rely simply on conclusory statements or on contentions that the

affidavits supporting the motion are not credible.’”) (internal citations omitted).

       For instance, the Mayor making a statement based upon his personal experience having

lived in and worked for the City over many years, is not a false or misleading statement simply

because it was not based upon specific data. As to the Deputy Mayor’s statement that people

worry about the economics of their neighborhoods changing, Plaintiffs simply conclude it is

false, and willfully ignore the evidence and testimony explaining why there is a fear of economic

change, for example, market rent units and investment in the neighborhood attracting people



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with higher incomes.25 Nor did the Deputy Mayor “withhold” anything from the Court simply

because she did not repeat every aspect of her deposition testimony. Pls. Reply at 84. Moreover,

Plaintiffs’ misconstrue the Deputy Mayor’s testimony about race, ignoring her fuller testimony

which is consistent with her statements in her declaration. See Polifione Reply Dec. Ex 67 (Been

I deposition at 137:22-150:22); Ex 68 (Been II deposition at 24:10-24) Similarly, there is

nothing false or misleading about former HPD Commissioner Torres-Springer’s desire to express

nuance around issues of race and segregation, and not immediately answering a deposition

question the way that Plaintiffs’ counsel wanted her to.26 Finally, disagreeing with former HPD

Commissioner Donovan’s answer to a deposition question does not establish that such answer is

false. Nor does the lack of having a specific policy toward the goal of eliminating racial

segregation in housing mean that former Commissioner Donovan did not work toward that goal.

In short, Plaintiffs have failed to establish the City has lied or been misleading in any of the

instances Plaintiffs claim it has.

         Plaintiffs’ “evidence” of false or misleading statements, which they assert constitute

consciousness of guilt, also has nothing to do with the City’s defense or reasons for the CP

policy.27 To establish pretext, Plaintiffs must cast doubt about the legitimacy of the City’s


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 See Been Dec. at ¶¶ 11, 14, 42, 47, 56; see also, e.g., Polifione Reply Dec, Ex 67 (Been I deposition at 137:22-
150:22), Ex 68 (Been II deposition at 125:3-126:3); Ex 75 (Weisbrod Deposition at 47:8-51:22); Ex 77 (Bozorg
Deposition at 26:13-27:21, 129:7-133:3); Ex 82 (Perine Deposition at 199:5-14, 217:5-218:25); Ex 83 (Press
Deposition at 92:21-94:13; 95:25-96:12).
26
   Former HPD Commissioner Torres-Springer repeatedly answered Plaintiffs’ counsel’s question, confirming that
race was one of the protected classes that was part of the discussion and that the op-ed had to be viewed in light of
the context for which it was written. Because Plaintiffs’ counsel wanted a different answer – the one he believed was
the correct answer – he repeatedly asked essentially the same question to which Torres-Springer answered each
time. However, her answers explained that the issue Plaintiff was asking about was more complex and included
more factors than Plaintiffs’ counsel tried to limit it to. See Polifione Reply Dec. Ex 71 (Maria Torres-Springer
Deposition at 52-59).
27
  Thus, even if there were an issue of fact, because these are not material facts, summary judgment is not precluded.
See Cartier v Lussier, 955 F.2d 841, 845 (2d Cir. 1992); Eastway Constr. Corp., 762 F.2d at 249 (2d Cir. 1985).



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defense in order to allow an inference that racial discrimination was the true motive. However,

their approach is backward—they ask the Court to infer that because the City has purportedly

lied or been misleading about segregation, that the City is also lying about their rationale for the

CP policy. In other words, Plaintiffs ask this Court to infer discriminatory intent behind the CP

policy because the City allegedly has consciousness of guilt around segregation. This backward

approach highlights the weakness of Plaintiffs’ arguments—their inability to overcome the

City’s evidence of its interests and their inability to create a nexus between the CP policy and the

race-based opposition. No reasonable inference of intentional discrimination could be drawn

from Plaintiffs’ evidence, as it fails to cast doubt on the City’s rationales or tie the CP policy to

race-based opposition.28 Therefore, the City is entitled to summary judgment dismissing the

intentional discrimination claim.

                                                   POINT II

                          THE CP POLICY DOES NOT HAVE A
                          DISPARATE IMPACT

        In its initial briefing, the City set forth several fundamental flaws with Dr. Beveridge’s

disparate impact analysis. These flaws include: 1) the use of CD typologies; 2) that Dr.

Beveridge’s protected class is not a legally recognized protected class and is instead subgroups

of protected classes that are fluid; 3) that Dr. Beveridge focuses on comparing CP beneficiaries

with non-CP beneficiaries rather than the impact of the CP policy; 4) Plaintiffs’ analysis is done

at the incorrect stage of the lottery process; 5) Plaintiffs’ “statistical significance analysis,” which

Dr. Beveridge did not include in his expert reports or supplemental reports, was conducted

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   Plaintiffs argue that the City cannot succeed on a mixed-motive theory. Pls. Reply at 88. The Court does not need
to even consider this because, as explained above, Plaintiffs have failed to present any evidence that the City
intentionally discriminated. Moreover, the City also explained in detail why, arguendo, under the FHA, even if there
was a determination that there was a discriminatory motive found, the City could still succeed on summary
judgment. See Def. Aug. brief at 13-15 and 51-64



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improperly and should not be considered; and 6) Plaintiffs failed to meet their burden to

demonstrate that the CP policy causes the purported impact that they claim. Plaintiffs’ attempt to

overcome these flaws fails. Plaintiffs’ responses to these criticisms lack merit and do not create

an issue of fact. Thus, for the reasons set forth below, and in the City’s initial brief, the City is

entitled to summary judgment on the disparate impact claims.

A.       Dr. Beveridge’s Analysis Based Upon His Race-Based “CD typologies” is Contrary
         to the Law

         Dr. Beveridge’s analysis of data grouped into race-based CD typologies is statistically

improper and contrary to the law. Before addressing Plaintiffs’ responses to the City’s attack on

their use of CD typologies, it is important to point out that use of CD typologies is the

fundamental dispute between the parties. Despite Dr. Siskin’s disagreement with Dr. Beveridge’s

analytical methodology, he applied Dr. Beveridge’s methodology to the citywide data rather than

CD typologies and found no disparate impact. Consequently, despite the many flaws discussed

below, resolution of the first prong of the disparate impact analysis ultimately comes down to a

determination as to whether the analysis ought to be taken on the CD typologies as Plaintiffs

assert or the citywide data as the City asserts.29

                  (a) CD Typologies Have No Nexus to the CP policy

         Reading Plaintiffs’ reply papers, one might think that CD typologies are an actual

geography or grouping relied upon by the City. That is not the case. CD typologies are a

fiction—they were created by Dr. Beveridge for the sole purpose of obtaining the results he

sought. CD typologies are not the same as CDs. They are based upon the racial demographics of

the CP areas for projects. Plaintiffs did not undertake their analysis by grouping projects in a CD

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  However, because it is Plaintiffs’ burden of proof to establish a prima facie case of disparate impact, in order to
grant the City summary judgment, the Court need not decide that Dr. Siskin’s analysis on the citywide data is
correct, but only needs to determine that Dr. Beveridge’s analysis using CD typologies is incorrect.



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together,30 but instead deliberatively grouped projects according to racial demographics.31

Moreover, there is nothing “location-based” about Plaintiffs’ CD typologies.32 Each of their CD

typologies consists of projects from multiple CDs and boroughs. Nor do the Plaintiffs’ CD

typologies allow Plaintiffs to assess the ability of an applicant to compete in a “specific lottery,”

as Plaintiffs did not undertake a project-by-project analysis, but grouped the lotteries into their

CD typologies. Pls. Reply at 10. Thus, contrary to Plaintiffs’ assertions otherwise, undertaking

the analysis by CD typologies is not necessary to assess whether an applicant can compete

wherever they apply, nor does it actually assess that issue.

                 (b) Using CD Typologies Does not Reflect Applicants’ Preferences

        Plaintiffs also justify the use of their CD typologies as being necessary to reflect

applicants’ preferences. However, Dr. Beveridge has conceded that he does not know applicants’

preferences. See Ex. 45 to the Polifione Aug. Dec. (September 24, 2019 Beveridge Deposition at

112:24-113:1) Moreover, underlying such argument is the unproven and unstated assumption

that applicants’ primary consideration of whether to apply to a project is the racial demographics

surrounding the project. Yet Plaintiffs themselves never indicated that race was a factor in their

decision as to where to apply for affordable housing. See Polifione August Dec. at Ex 42 (at

52:2-13 and 89: 17-19), Ex. 43 (at 32:20-33:3; 33:14-20). Consequently, by choosing to group

the projects by racial demographics and by ignoring applications made by applicants in other CD



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  This is not to say that it would have been appropriate for Plaintiffs to group projects by CD either. However, if
Plaintiffs had done so, their argument would be more plausible.
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   For instance, projects with CP areas (typically the CD the project is located in) that are majority White are
grouped together for analysis, whereas projects with CP areas that are majority Black are grouped together for
analysis.
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   Furthermore, disparate impact analysis is not intended to see whether “racial patterns exist in relation to the
benefit and harm caused by the policy.” It is meant to determine in the first instance whether in fact there is a
disproportionate harm caused by the policy. See Pls. Reply at 19-20



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typologies, the CD typologies reflect Dr. Beveridge’s unsupported judgment calls on the

preferences of applicants rather than reflecting applicants’ preferences.

               (c) Units are Fungible and thus There is No Basis for CD typologies

       From a statistical perspective, there is no basis to undertake a disparate impact analysis

based upon smaller groupings, such as Plaintiffs’ CD typologies, given that Dr. Beveridge treats

the units in each CD typology as interchangeable (or fungible). Indeed, Plaintiffs do not dispute

that Dr. Beveridge treated the units as fungible or interchangeable, but nevertheless insist that

from the perspective of the applicants, the units are not fungible, as they may prefer some units

over others. As noted above, Plaintiffs did not express preferences regarding the racial

demographics of the neighborhoods to which they would like to move. Moreover, the case law is

clear that in circumstances where a challenged policy is being applied consistently across

multiple locations, there is no basis to analyze each location separately. See e.g., Williams, 879 F.

Supp. 2d at 337-338 (suggesting that a proper disparate impact analysis of a policy that applied

to all NYCHA complexes should not be limited to a single complex so as to use the proper

population for comparison). Cf. Wal-mart Stores v. Duke, 564 U.S. 338 (2011) (denying class

certification for disparate impact claim because each store’s act of discretion in hiring women

was unique). As the CP policy is uniformly applied across the city, it should be analyzed based

upon the citywide data and not smaller groupings. See, e.g., Smith v. Xerox Corp., 196 F.3d 358,

369-70 (2d. Cir. 1999), overruled on unrelated grounds by Meacham v. Knolls Atomic Power

Lab., 461 F.3d 134 (2d Cir. 2006).

       Plaintiffs’ attempt to distinguish Xerox and Hollander v. American Cyanamid Co., 172

F.3d 192, 203 (2d. Cir. 1999) (another case also rejecting the manipulation of data) is unavailing.

Plaintiffs argue that the difference between Xerox and this case is that, in Xerox, the plaintiffs

alleged that there was “a disparate impact” and “were not alleging that there was either a

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disparate impact only to some of Xerox’s work groups, or that there was more than one impact

within any protected class category.” Pls. Reply at 20. This argument implies that here, Plaintiffs

alleged that there were multiple disparate impacts against subgroups or that there is more than

one impact in any protected class category. This simply is not the case. The SAC alleges that

Blacks and Hispanics (the protected classes) have been discriminated against in their ability to

compete fairly for housing. The complaint says nothing about subgroups or multiple impacts.

That Plaintiffs’ expert undertook analysis inconsistent with Plaintiffs’ pleadings does not change

the claims in the case. Moreover, Xerox’s holding is not based upon how the plaintiffs plead the

case, but is based upon the Second Circuit’s understanding of proper disparate impact analysis –

i.e., that “[i]]t would be nonsensical for a court to decide that only some of these plaintiffs

established a prima facie case of disparate impact when they all purport to specify the

identical...practice as causing a disparate impact.” Xerox Corp., 196 F.3d at 369.

       As to Hollander, Plaintiffs claim it is distinguishable because the expert changed the age

bands to capture the plaintiff’s age. Pls. Reply at 20. While indeed the facts of the two cases are

distinct, the manipulation of the grouping of the data analyzed to create self-serving results

remains the same. In Hollander, the expert expanded the age range analyzed to capture data that

would demonstrate an impact. See Hollander, 172 F.3d at 203. Here, Dr. Beveridge created small

groups of the data based upon race to create the illusion of a racial impact. Thus, as in Hollander,

this Court should not find Dr. Beveridge’s results, based upon his self-serving gerrymandering of

the data, probative of discrimination.

               (d) Plaintiffs’ Reliance Upon Comer and Langlois Fails

       Plaintiffs’ response to the City’s explanation of why neither Comer nor Langlois offers

support for their use of CD typologies is almost as confusing and strained as Plaintiffs’ first

attempt to rely upon them. Plaintiffs insist that “like Langlois, the policy presents multiple pools

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(CD-typologies) [and that] [t]he effects on competition within each typology must be assessed

separately.” Pls. Reply at 29. Again, no matter how many times Plaintiffs assert it, the CP policy

has nothing to do with CD typologies. CD typologies were created by Dr. Beveridge for his

analysis in this case. Moreover, there were no “separate pools” in Langlois, but separate towns,

each with different types of data, and different dates they implemented the preference at issue.

Here, there is a single defendant, a single set of records, single source of data, and a single policy

at issue. CD typologies are a fiction created by Dr. Beveridge and have no relationship to the CP

policy.

          In sum, Plaintiffs have failed to set forth a viable explanation for their creation of the CD

typologies, which are obviously biased and wholly unsupported by the law. In contrast, the City

has cited to several Second Circuit decisions that reject analogous manipulation of data and use

of subgroups, which Plaintiffs failed to distinguish (as they cannot). See City Aug. Brief at 21.

Consequently, the City is entitled to summary judgment dismissing Plaintiffs’ disparate impact

claim as their reliance upon Dr. Beveridge’s CD typology-based analysis fails as a matter of law.

B.        Plaintiffs’ Analysis Fails to Show an Impact on a Protected Class

          As a direct result of the use of CD typologies and the comparison of CP beneficiaries

with non-CP beneficiaries, Dr. Beveridge’s analysis is undermined by yet another fatal flaw—the

failure to demonstrate a disparate impact on a legally recognized protected class. As explained in

the initial brief, Plaintiffs’ asserted protected class translates to “applicants depending on the

racial demographics of where they apply for housing and their CP status when applying.”

However, also as discussed in the City’s initial brief, not having the CP (or being an “outsider”

in Plaintiffs’ terms) and not being the same race as the dominant race of the “CD typology” in




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which you apply to housing is not a protected class under the law. 33 See 42 U.S.C. § 3604(a);

N.Y.C. Admin. Code § 8-107(17)(a)(1). See also Tsombanidis, 352 F.3d at 575; Willliams 879 F.

Supp. 2d at 336.

        By claiming that their protected class is defined and static for each CD typology,

Plaintiffs demonstrate their lack of understanding of disparate impact analysis. First, a protected

class is a legally defined group. Second, a protected class should not change or be defined by the

data grouping. The point of disparate impact analysis is to determine whether there is a

disproportionate impact on a protected class, not to determine who the protected class should be.

        Black and Hispanic applicants are the protected class as alleged in the SAC. But the

“protected class” that Plaintiffs now want to focus on is applicants of the non-dominant race (as

compared to the CD typology where they apply) who are non-CP beneficiaries. This at best

translates to Black (or Hispanic) applicants who apply as non-CP beneficiaries to Plaintiffs’

made-up CD typologies (which bear no relation to the reality of how applicants would apply) in

which the dominant race is not Black (or Hispanic). However, as the City argued in its initial

brief, not only is the “non-dominant race” not a protected class, the law does not recognize

disparate impact claims on behalf of concocted subgroups. See Xerox, 196 F.3d 369; City’s Aug.

Brief at 18.34

        In reality, Plaintiffs have not even brought their case on behalf of a subgroup of a

protected class. Because even that “non-dominant race” “protected class” was not disparately

impacted in each CD typology and at each stage of the lottery process analyzed, Plaintiffs have

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   Although discussed separately from other criticism of the CD typologies, Plaintiffs’ lack of protected class is
directly the result of Plaintiffs’ race-based CD typologies.
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   As discussed above, Plaintiffs’ attempt to distinguish Xerox fails. Moreover, Plaintiffs did not even attempt to
distinguish the other cases the City relied upon for the proposition that Courts reject disparate impact claims on
behalf of a subgroup of a protected class.



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cherry-picked even smaller subgroups from which they assert their claims of disparate impact.35

Determining the protected class based upon the analysis results is not only legally unsupported,

see Xerox, 196 F.3d at 369-71, but is an invalid statistical analysis. See Siskin Aug. Dec. ¶¶ 37-

38.

        Contrary to Plaintiffs’ assertion otherwise, ignoring the circumstances in which no

disparate impact was found on the “protected class” and only pursuing a claim of disparate

impact on behalf of a manipulated subgroup of a contrived subgroup of the protected class is

absolutely “cherry-picking.” Even if Plaintiffs have studied each applicant relevant to each CD

typology, based upon the results from that analysis, they only assert a claim of disparate impact

on behalf of some of those applicants. As Dr. Siskin’s undisputed analysis demonstrates, set

forth in his Table 1, Plaintiffs’ cherry-picking means that Plaintiffs are only asserting a claim of

disparate impact in being awarded a unit on behalf of 43.08% of the Black apparently eligible

applicants who are not the dominant race in a particular CD typology, and 35.01% of Hispanic

apparently eligible applicants. Looking at all the races together, Plaintiffs do not dispute that

61.20% of all apparently eligible applications – which they originally alleged were disparately

impacted in getting awards – are not, in fact, disparately impacted.

        Dr. Beveridge did not dispute Dr. Siskin’s Table 1 findings, but instead argues that the

remaining claims represent 71.4% of awards. See Bev. Reply ¶¶ 71-72. However, as Dr. Siskin

explained, looking at awards to assess the abandoned claims is not appropriate. Awardees are not




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  Most notably, Plaintiffs have abandoned any claim on behalf of any race regarding awards in any plurality CD
typology because Dr. Beveridge’s analysis demonstrates that the dominant group for each plurality CD typology is
not the dominant group selected. For example, in a plurality White CD typology, Blacks are the group with the
highest percentage of CP awards. See Beveridge Dec. (ECF 883) at Table 10 ¶ 130; Table 8 ¶ 121. See also Siskin
Aug. Dec.¶ 34.



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injured, as they have obtained housing. It is the apparently eligible applicants that were allegedly

unable to compete fairly that would be injured. See Siskin Reply ¶¶ 24-26.

        In addition to the fact that Plaintiffs’ ever-narrower definition of the subgroup is designed

just to abandon the claims for which Plaintiffs’ own analysis found no disparate impact in the

ability to compete, Plaintiffs’ fluid “protected class” causes other outrageous and inconsistent

results. It means that an applicant can be part of a “protected class” and not part of a “protected

class” at the same time, even if for both applications they are not a CP beneficiary. Plaintiffs do

not dispute these inconsistent outcomes, but merely assert that they are not problematic.

C.      Plaintiffs’ Comparison of CP beneficiaries with non-CP Beneficiaries Does Not
        Assess the Impact of the CP Policy

        The third fatal flaw in Dr. Beveridge’s analysis is that it improperly focuses on

comparing the results of CP and non-CP beneficiaries. However, as previously explained, what is

at issue here is whether and to what extent the CP policy has a disparate impact on Black and

Hispanic affordable housing applicants in their ability to compete for housing. See Siskin Aug.

Dec. ¶ 48. The allegation in the complaint is not that Black New Yorkers are being discriminated

against in their ability to be CP beneficiaries.36

        Plaintiffs defend their CP status approach not by actually responding to the City’s

arguments as to why such analysis fails to study the impact of the CP policy, but simply by

insisting that their approach is appropriate. They try to characterize the City’s argument as

attempting to impose a “selection rate” analysis and claim that the City’s argument is at odds

with the Supreme Court’s holding that statistics come in an “infinite variety.” Pls. Reply at 24.

36
   Additionally, to the extent Plaintiffs are using the non-CP beneficiary group as a proxy for what would occur
without the CP policy in place, it is unnecessary. Dr. Siskin simulated what would occur with and without the policy
in place, and thus one need not guess using the non-CP beneficiary group. See Siskin Aug. Dec. ¶¶ 103-107; Table
4. Dr. Siskin also demonstrated that such a proxy is inaccurate in comparison to the actual results provided by the
simulation. See Siskin Reply Appendix K.



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That is not the case. While statistics may come in an “infinite variety,” statistical analysis must

be undertaken in a manner that studies the relevant question and best isolates the impact of the

policy challenged. Dr. Beveridge’s analyses do neither.37

           Indeed, Plaintiffs are silent about the inconsistent and outrageous results that occur due to

Dr.           Beveridge’s           CD           typology          and         CP          status       approach. 38

As the City explained, even though Plaintiffs claim that the outcome of interest is being a CP

beneficiary, their own analysis shows that being a non-CP beneficiary does not determine the

alleged harm. If a Black non-CP beneficiary applies to a majority Black CD typology, for

example, Dr. Beveridge would claim that she is not harmed. Yet if a White non-CP beneficiary

applies to a project in that same CD typology, where her race is not the majority race, she would

be harmed. Such inconsistent results, when both applicants are non-CP beneficiaries, undermines

Plaintiffs’ analytical framework. Indeed, it appears that it is the applicant’s race in comparison to

the made-up CD typology, not her CP status, that determines whether she is harmed.

           Dr. Beveridge attempts to explain away Dr. Siskin’s demonstration that Dr. Beveridge’s

methodology is statistically invalid. Dr. Beveridge argues that his analysis is not subject to the

mathematical axiom that a statistical formula should result in consistent results applied to all

facts because he is undertaking “empirical” math. However, as Dr. Siskin explained, “[e]mpirical

analysis is simple applied mathematics…. Simply put, the rules of mathematics apply to the

empirical world.” Siskin Reply Dec. ¶ 39. In other words, the mathematical axiom applies even




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     Moreover, Dr. Beveridge’s Method 2 (highest insider share) is a form of a “selection rate.”
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  In light of the case law presented by the City explaining what the proper comparisons are, Plaintiffs also appear to
abandon their claim that such approach is necessary because they cannot compare those affected by the policy with
those not affected, as all are affected.



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to empirical math and thus Dr. Beveridge’s analysis, which resulted in inconsistent results, is

flawed.

          Nevertheless, even if, arguendo, the issue before the Court were to determine which

group had the most CP beneficiaries and could take advantage of the policy most, and Dr.

Beveridge’s methodologies were statistically valid, Plaintiffs’ claim would fail. Dr. Siskin

undertook Dr. Beveridge’s analysis on the citywide data (at the entrants, apparently eligible

applicants, and awardees stages) and demonstrated that there is no disparate impact. See Siskin

Aug. Dec. Appendix E.

D.        Plaintiffs Analyze the Incorrect Lottery Stages

          The City is also entitled to summary judgment because the Plaintiffs have not studied the

correct stage of the Lottery Process to establish their claim that the CP policy causes a disparate

impact in the ability to compete for affordable housing opportunities. The CP policy has no

impact at the application (or entrant) and apparently eligible application stages. Anyone can

apply for a unit in an affordable housing project. Similarly, the CP policy has no role in the

determination of which applications are apparently eligible (i.e. satisfy income and household

eligibility criteria for at least one unit based upon self-reported information).

          Plaintiffs argue that CP beneficiary entrants’ odds of being awarded housing are better

than non-CP beneficiary entrants’ odds, and that this is not later cured.39 While that may be

correct, an entrant that is not apparently eligible cannot compete for housing and the CP policy

does not effect apparent eligibility. To the extent that Plaintiffs assert that even an apparently

ineligible applicant will be reached sooner and given the opportunity to appeal, Dr. Beveridge


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  This is because entrants include apparently eligible applicants that would benefit from the CP policy. For entrants
who are not eligible, the odds of being selected are zero regardless of whether they are CP beneficiaries. See Siskin
Reply ¶ 48.



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never undertook any analysis to determine whether there is a disproportionate racial impact on

this portion of applicants. Dr. Siskin, on the other hand, looked at the racial mix of apparently

ineligible CP beneficiaries and non-preference applicants and determined that there is no

meaningful difference in the racial mix of the two groups, and thus there is no reason to believe

that there would be a disproportionate impact based on race.40 See Siskin Aug. Dec Table 2. Dr.

Beveridge has never disputed this finding, yet repeats the unsupported argument that the CP has

a disparate impact at the entrant stage.

         Although the CP policy is intended to, and does, affect awards, any disparate racial

impact found in the probability of an award will not be solely due to the CP policy, as there are

many factors other than the CP policy that affect whether an applicant is awarded a unit,

including an applicant’s actual eligibility and continued interest. See Siskin Aug Dec. ¶ 66;

Siskin Reply ¶ 54. As more fully discussed in subsection F, infra, Dr. Beveridge fails to control

for these other factors that influence whether an award is granted, and thus any racial “impact”

his analysis finds cannot be solely attributed to the CP policy. 41

E.       Plaintiffs’ Statistical Significance Tests Must be Disregarded

         In response to the City’s criticism that Dr. Beveridge improperly applied the 80% rule to

analyses other than selection rates, Plaintiffs simply assert that it can be applied in other

contexts. Plaintiffs point to no statistical literature or cases in which the 80% rule has been

applied outside the context of selection rates. Indeed, Dr. Siskin has represented that he is not


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  Table 2 also shows that there is very little difference in the racial makeup of apparently eligible CP beneficiaries
and non-preference applicants.
41
  Dr. Siskin adjusted for some of these factors and demonstrated that the purported “impact” on awards presented
by Dr. Beveridge is in actuality significantly lower, and -- when citywide data is used -- passes the 80% test. See
Appendix E, Table E5. However, there are still factors other than the CP policy that could not be adjusted for, and
consequently, even the adjusted analysis at best establishes correlation between impact of the CP policy on awards
and not that the CP policy causes an impact on awards.



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aware of any literature that discusses its application outside of selection rates. See Siskin Reply ¶

63.

       The United States Equal Employment Opportunity Commission (“EEOC”) and other

federal agencies adopted the 80% rule because in their judgment, if the selection rate of the

protected class is within 80% of the group with the highest rate then the difference is not

practically significant and should not result in disparate impact liability. See Siskin Reply ¶ 63.

While it is true that one can compare a difference between any two numbers by dividing to see if

the difference is less than 80%, Dr. Beveridge has not provided any explanation as to why this

approach is an appropriate measure of practical significance, or more specifically, why the 80%

threshold is appropriate.

       As to statistical significance, Dr. Beveridge argues that his analysis was done correctly.

However, upon examination of the programs Dr. Beveridge provided, Dr. Siskin found that the

incorrect program had been applied and the comparison of races was inconsistent with the Dr.

Beveridge’s own underlying analysis. See Siskin Reply ¶ 72. Furthermore, it is the practical

significance that measures the true impact. See Siskin Reply ¶ 117.

F.     Plaintiffs Fail to Demonstrate Robust Causation

       Plaintiffs’ analysis does not isolate the disparate racial impact of the CP policy. It at best

demonstrates that the CP policy is correlated with a disparate impact. But correlation is not

causation. Dr. Beveridge’s methodology fails to control for many other factors that affect

whether an applicant is a CP beneficiary or is likely to be awarded a unit. For example, as Dr.

Siskin explained, racial differences within the CP group cannot be due to the CP policy, as each

applicant is a CP beneficiary. See Siskin Aug Dec. ¶¶ 74-80. Thus, the fact that a racial group

has more CP beneficiaries than another racial group tells us nothing about the effect CP policy

has on the probability of an award for different racial groups. Dr. Siskin further demonstrated

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how one could adjust for the differences by race within the CP group and within the non-CP

group when examining awards on the citywide data, and that in doing so, the purported impact

that Dr. Beveridge wholly attributed to the CP policy without the adjustments was greatly

reduced and passed the 80% test. See Siskin Aug. Dec. Appendix E, Table E5.

         It is important to note however, that even with the adjustments made, Dr. Beveridge’s

analysis does not establish causation. Factors other than the CP policy that cause differences

between the CP and non-CP beneficiary groups have not been adjusted for. See Siskin Reply ¶

42. Thus, Dr. Beveridge’s analysis at best establishes a correlation between the CP policy and the

purported impacts, but not causation.42

G.       Disparate Impact Analysis Done Properly

         While the City is entitled to summary judgment because Plaintiffs have failed to meet

their burden to demonstrate a disparate impact as a matter of law, the City’s expert undertook a

proper disparate impact analysis, which demonstrates that the CP policy does not disparately

impact Black or Hispanic New Yorkers applying for affordable housing. Plaintiffs and amicus

curiae try to divert attention from those findings by using inflammatory rhetoric like “separate

but equal,” but the fact remains that the data, when analyzed as the case law requires, shows that

Black and Hispanic New Yorkers are not disparately impacted in their ability to compete for

housing, and in fact benefit most from the City’s affordable housing lottery. 43 Pls. Reply 8;

Amicus brief at 5, 11, and 12.


42
  Plaintiffs appear to have dropped their argument that the NYC HRL does not require causation, as the City
pointed to the sections of the NYC HRL that Plaintiffs disregarded, which clearly states that a statistical imbalance
must be caused by a policy. See N.Y.C. Admin. Code § 8-107(17)(b)
43
   Amicus curiae’s reliance upon Buchanan v. Warley is wholly misplaced. The CP policy does not prohibit
(intentionally or unintentionally) people of any race from applying for and obtaining housing in any neighborhood in
New York City. Indeed, it is undisputed that the lottery with the CP policy in effect has an overall integrative effect,
and that the moves of both CP beneficiaries and non-CP beneficiaries are net integrative.



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       Nor is the citywide analysis based on “offsetting” injuries. Dr. Siskin’s analysis is based

upon citywide data because the CP policy is applied citywide and because Dr. Beveridge never

identified a reason to treat the affordable housing projects differently. See Siskin Reply ¶ 6. As

Dr. Beveridge has recognized, each race will be helped and hurt by the CP policy. See

Declaration of Andrew A. Beveridge, dated March 4, 2019 (“Bev. Mar. Dec.”) ¶ 28. Thus, to

determine whether there is a disparate impact on a protected class, one must look at all of the

data together. This is not an offset, but simply the appropriate manner by which to undertake

disparate impact analysis on a citywide policy. See Siskin Reply ¶ 9; Xerox, 196 F.3d at 369-70;

Williams, 879 F. Supp. 2d at 337-338. Moreover, Plaintiffs’ own analysis “offset[s]” some

applications with others. See Pls. Reply at 10. Plaintiffs ignore applications made in other CD

typologies and circumstances in which the applicants are favored or deemed not injured per Dr.

Beveridge’s definitions, and instead only focus on circumstances in which the applicants are not

favored or deemed injured, i.e., where they find a disparate impact.

       Furthermore, Plaintiffs’ reliance upon Connecticut v. Teal, 457 U.S. 440 (1982), for the

proposition that an injury in applying to one project cannot be undone by being helped in another

project fails. Teal addressed the fact that if an employment exam discriminated against Black

applicants, the employer could not be freed from liability even if the number of Black applicants

hired was not disproportionate. Teal says nothing about how the data should be analyzed, but

addresses the appropriate stages of the hiring process at which the data should be analyzed

(specifically, if the challenge is to a part of the hiring process, analysis should be done at the

relevant dispositive stage of the process, not on the “bottom-line,”). See Teal, 457 U.S. at 452.

In this case, Plaintiffs can not argue that Dr. Siskin, like the employer in Teal used some “bottom

line” like the number or share of people of a particular race who secure affordable housing



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through the lottery to offset a disparate impact at some earlier stage of the lottery process.

Instead the “offset” Plaintiffs complain about is the fact that some applicants of a particular race

are helped to secure housing by the CP policy while others are not – just as in Teal, some test

takers of a particular race may have passed the test because of its design while others may have

failed the test.

        Plaintiffs’ argument that the City’s citywide approach is a “post hoc” rationalization

likewise lacks merit. Deputy Mayor Been’s statements as HPD Commissioner regarding possibly

modifying the CP policy to settle a HUD compliance review have nothing to do with how to

undertake disparate impact analysis properly.44

        Plaintiffs’ and amicus curiae’s arguments also reflect their attempt to conflate disparate

impact analysis and perpetuation of segregation analysis. Disparate impact analyzes whether

applicants are able to compete fairly for housing irrespective of the location of the housing.

Disparate impact analysis does not address the question of where (or the racial demographics of

where) housing is located—that is a question of perpetuation of segregation (and in analyzing

perpetuation of segregation both parties agree the analysis should be undertaken on citywide

data, not CD typologies, and that the lottery has an integrative effect). See Pls. Reply at 32; Bev.

Reply Dec. ¶ 103.

        While the racial demographics of where people live may be central to perpetuation of

segregation claims, they are not relevant to the appropriate unit of study for the disparate impact

analysis of a citywide policy. Here, Plaintiffs seek to have the CP policy permanently enjoined

across the City, not just in particular neighborhoods with particular racial demographics. See

44
  Moreover, as Plaintiffs seek to rely on documents containing settlement negotiations between the City and HUD,
those documents would not be admissible in any event. See Crigger v. Fahnestock & Co., 2005 U.S. Dist. LEXIS
6382, at *3-4 (S.D.N.Y. Apr. 13, 2005) (Rule 408 applies with same applicability for settlement discussions between
the parties as those between a party and a third party.)



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SAC Prayer for Relief (b). Although some of the pleadings address access to predominantly

White neighborhoods or neighborhoods of opportunity, Plaintiffs’ expert analysis is not limited

to White neighborhoods, but looks at each race’s “ability to compete” in each CD typology

(including finding that White applicants are disparately impacted in certain CD typologies). Dr.

Beveridge does not rank the CD typologies in any way, so one CD typology is no more

important to the disparate impact analysis than another. Further, Plaintiffs seek to have the

policy overturned across the city despite claiming that racial demographics are not a factor in

where they seek to live. They cannot have it both ways – arguing that the policy cannot stand

anywhere in the city, but undertaking their disparate impact analysis based upon small subsets of

the data in “typologies” of areas within the City concocted based upon the racial demographics

of those areas.

        i.        Consideration Study

       Plaintiffs do not attack Dr. Siskin’s consideration study, but instead misdirect the Court

to an irrelevant issue—whether and to what extent CP beneficiaries are considered more often

than non-CP beneficiaries. There is no dispute that more CP beneficiaries are considered than

non-CP beneficiaries. The issue is whether there is a racial disparity in which applicants are

considered. Dr. Siskin’s analysis answers that question and demonstrates that the consideration

rate was 12.54% for Black apparently eligible applicants, 12.30% for Hispanic apparently

eligible applicants, and 12.80% for White apparently eligible applicants. Black applicants passed

the 80% test at 97.97%, while Hispanics passed the 80% test at 96.09%. Indeed, compared to the

overall consideration rate, the consideration rate for Black applicants was .14% greater, giving

Black applicants an advantage. See Siskin Aug. Dec Table 3 and ¶ 97.




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         Unable to dispute these clear findings, Dr. Beveridge undertook two new analyses in his

reply declaration.45 Specifically, using his CD typology framework, Dr. Beveridge attempts to

measure the difference in the consideration rate between CP beneficiaries and non-CP

beneficiaries.46 See Bev. Reply Ex. 24; ¶ 31. He also applied his outsider vs. insider

methodology to Dr. Siskin’s consideration study findings. See Bev. Reply Table 17.

         As Dr. Siskin explained, such analysis is:

                            unnecessary and undermine[s] the purpose of the
                           consideration study. The consideration study
                           incorporates and measures the impact of the CP
                           policy on who is considered and is thus able to
                           compete to be awarded a unit. There is no reason to
                           break that down to “insiders” and “outsiders,” as
                           [Dr. Siskin’s] findings already reflect the effect of
                           the CP policy. While CP status is relevant to
                           whether an applicant will be considered, once we
                           know who has been considered, it is irrelevant and
                           superfluous.

45
   Plaintiffs claim that this new analysis was “necessary” because the City “purports to reopen an issue as to which
there had been agreement.” Pls. Reply at 15. This attempt at an excuse to undertake new analysis that Plaintiffs
could have taken during expert discovery fails. First, Plaintiffs point to no case law that supports the notion that
”reopening an issue” is an exception to the rule that all expert analysis and opinions must be disclosed during expert
discovery. See F.R.C.P. 26(2)(B) and (D). Nor did the City “reopen an issue.” In response to Plaintiffs’ 56.1
statement paragraph 51, the City noted that there was no support for Plaintiffs’ statement that “a materially greater
percentage” of CP beneficiaries are reached and considered because Plaintiffs had not measured the rates. The City
then defined the vague terms and stated that based on those definitions, it agreed that a greater percentage of CP
beneficiaries are reached and considered. Moreover, Dr. Siskin agreed in his deposition that a “significantly greater
percentage” of CP applicants were considered. There was no reference to being “reached” in the deposition, nor did
he agree to the proffered statement of “materially greater.” Thus, there had never been an agreement to Plaintiffs’
proffered statement, nor did the City outright object to the statement. Third, Dr. Beveridge’s new analysis goes well
beyond the 56.1 statement at issue. Not only does he attempt to measure the difference in consideration rate between
CP beneficiaries and non-CP beneficiaries for the first time, he also looks at the differences by race in CD
typologies—something never raised in the 56.1 statement or addressed by Dr. Siskin in his deposition. Dr.
Beveridge also applies his methodology to the consideration findings, something not discussed during the
deposition, 56.1 paragraph referenced, or previously undertaken by Dr. Beveridge. Plaintiffs had every opportunity
to conduct this analysis during expert discovery and the City’s response to the partially-related 56.1 statement
provides no grounds to impose this new analysis in the middle of summary judgment briefing.
46
   Plaintiffs claim that they are using an “abandoned regression” analysis as the foundation for this analysis.
However, the “abandoned regression” is based upon Dr. Siskin’s consideration study. This is nothing more than a
misleading attempt to distance themselves from the fact that they cannot and do not dispute Dr. Siskin’s
consideration study. Moreover, there is no obligation to use every analysis undertaken during discovery in motion
practice. On the other hand, there is an obligation to not use any analysis not previously disclosed. Plaintiffs have
violated that obligation.



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Siskin Reply ¶ 77. In other words, Dr. Siskin’s analysis studies the CP policy’s impact on who is

considered. Dr. Beveridge’s analysis adds nothing but confusion.

         In addition to this new analysis, Plaintiffs make two meaningless criticisms of the

consideration analysis. First, Plaintiffs attack Dr. Siskin’s employment analogy provided to the

Court to better understand when the CP policy has its impact and what stage of the lottery should

be studied to capture that impact. Despite attacking the analogy, Plaintiffs concede that one

needs to be considered in order to compete for housing.47 See Bev. Reply ¶ 91.

         Second, Plaintiffs argue that the consideration study does not represent the full harm

purportedly caused by the CP policy. Specifically, Plaintiffs repeat their baseless assertions that

it does not measure the extent to which outsiders are “fully closed out” and does not measure the

harm to “partially closed out” applicants.48 As previously explained, the consideration study

reflects whether a particular race is fully closed-out. As to being “partially closed-out,” it is

impossible to know whether a partially closed out applicant is harmed by being partially closed

out without knowing each applicants’ unit size preferences, which the data does not reflect.

Finally, while the City did not analyze the “partially closed out” applicants, neither did Plaintiffs,

and it is their burden to establish disparate impact.




47
  Dr. Siskin also easily reframed the analogy in response to Plaintiffs’ criticism. See Siskin Reply ¶ 82 fn 24. It does
not change the fact that the consideration stage is the appropriate stage to study to best capture the CP policy’s
impact.
48
   A “fully closed out” applicant is an apparently eligible applicant for whom there are no units that match the
applicant’s eligibility (household and income size) available at the time the developer reached the applicant’s log
number. A “partially closed out” applicant is an apparently eligible applicant who was apparently eligible for more
than one unit type (such as a 1 bedroom and a studio), but to whom (at the time their application is reached by the
developer) fewer units than all the unit types for which they were apparently eligible are available (although at least
one unit type is still available).



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       ii.     Simulation

       Unable to dispute the clear findings of the simulation which demonstrates that there is a

very small difference in outcomes with the CP policy in place, and no disparate impact, Dr.

Beveridge and Plaintiffs again improperly attack Dr. Siskin’s simulation on new grounds and

undertake new analysis, not previously disclosed during expert discovery.

       As with the consideration study, Dr. Beveridge’s new analysis is based upon Dr. Siskin’s

simulation findings, which are undisputed. Previously, Dr. Beveridge broke down Dr. Siskin’s

simulation with the CP preference, then applied his CP status and CD typology methodology to

that breakdown. But, apparently recognizing the weakness of his CP status approach, Dr.

Beveridge has now taken Dr. Siskin’s results comparing the simulation with the CP policy and

without the CP policy and broken those results into CD typologies. See Bev. Reply Tables 19

and 20. However, as discussed above, Dr. Beveridge’s CD typology approach is fundamentally

flawed and incorrect as a matter of law.

       Plaintiffs also assert for the first time that the simulation findings are “diluted” because

the CP policy only really impacts the CP units, or 50% of the units. Pls. Reply at 27. This is

incorrect. The CP policy affects not only the CP units but also the non-CP units and, thus, the

underlying premise that the impact is only in the 50% of units with the CP is wrong. See Siskin

Reply at ¶¶ 88-91. Comparing the lottery with and without the CP policy actually isolates and

measures the impact of the CP policy, and Dr. Beveridge is on record agreeing with that premise.

See Polifione Aug. Dec. at Ex. 47 at ¶ 83 (stating that the appropriate “baseline comparison is an

equal-access lottery (no community preference)”). Further, as Dr. Siskin demonstrated, not

accounting for all the units (by focusing only on the 50% CP units) causes inconsistent results.

See Siskin Reply ¶ 90 and Illustration 1.



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       Plaintiffs’ “dilution” argument is consistent with Dr. Beveridge’s repeated tactic of

carving data into those groupings that allow him to reach the findings he seeks. For instance,

reporting results by CD typology ignores all the other applications made outside that CD

typology (ignoring that groups are advantaged in other CD typologies and only focusing on the

purported disadvantage); asserting claims only on behalf of those in the “protected class” for

which an injury was demonstrated ignores the 61.20% of apparently eligible applicants that don’t

fit that gerrymander; defining the “protected class” as only non-CP beneficiaries not of the

dominant race ignores the impact of the CP policy on non-CP beneficiaries that are the dominant

race) comparing CP beneficiaries with non-CP beneficiaries based upon the incorrect assumption

that non-CP beneficiaries are not affected by the CP policy; and in his perpetuation of

segregation analysis, using the incorrect denominator in creating his ratios (see section III.B.

(c)). As demonstrated by Dr. Siskin, ignoring the data in each of these instances causes

exaggerated outcomes and inconsistent results. See Siskin Reply ¶ 90. In short, Dr. Beveridge’s

“impacts” are the product of his selective sifting of the data.       Therefore, Dr. Beveridge’s

criticism of Dr. Siskin’s disparate impact analysis is misplaced and his own analysis fails as a

matter of law.

                                           POINT III

                      THE LOTTERY WITH THE CP POLICY
                      INTEGRATES    AND    DOES  NOT
                      PERPETUATE SEGREGATION

       Plaintiffs have also failed as a matter of law to establish that the CP policy perpetuates

segregation. It is undisputed that the lottery with the CP policy is integrative, that the moves of

CP beneficiaries and non-CP beneficiaries are integrative, and that the CP policy results, at most,

in a trivial amount of less integration. It is further undisputed that the New Yorkers who are

awarded affordable housing in Dr. Beveridge’s majority White CD typology are significantly

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more diverse than the demographics of this typology. See Siskin Aug. Dec. ¶ 147. Finally, it is

undisputed that the perpetuation of segregation analysis should be undertaken on a citywide basis

and that Dr. Siskin’s analysis is accurate. See Pls. Reply at 32. What remains in dispute is what

constitutes perpetuation of segregation under the law, how one assesses it, and whether Dr.

Beveridge’s attempt to measure it is flawed.

A.     Integrating Less is Not Perpetuating Segregation

       Given these undisputed facts, Plaintiffs urge this Court to find that they have established

a prima facie case of perpetuation of segregation because the lottery with the CP policy results in

slightly less integration than would occur without the CP policy. In response to the City’s

assertion that Plaintiffs have failed to cite to any case law for the proposition that “integrating

less” constitutes perpetuation of segregation, Plaintiffs still fail to point to any case law directly

on point. Instead, Plaintiffs discuss two cases, namely MHANY and Davis v. NYCHA, from

which they hope to convince the Court that such a legal standard is appropriate.

       Contrary to Plaintiffs’ assertion otherwise, MHANY does not support the notion that

integrating less, in the minimal manner that the CP policy does, constitutes perpetuation of

segregation. In MHANY there were two proposals before the Village, one which would have an

integrative effect and the other which would result in no racial change. See MHANY, 819 F.3d at

598. The Court thus compared those two proposals and found that by adopting the proposal that

would not result in racial change, and rejecting the proposal that would, the Village had

perpetuated segregation. Here, however, there are not two proposals that were before the City.

The CP policy is a longstanding policy that is part of the lottery system, which has an integrative

effect. It also helps prevent the displacement of low-income people and helps get affordable

housing built by helping overcome the fear of displacement. Finding that a municipality

perpetuates segregation if it does not abolish a policy because that policy does not maximize

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integration is different than finding that a municipality perpetuates segregation if it rejects a

proposal that would lead to desegregation and instead adopts one that will not lead to any racial

change in a segregated place. Simply put, the facts and circumstances of MHANY do not fit

what is occurring here, and thus Plaintiffs attempt to apply the comparison made in MHANY is

inapposite.

       Nor does Plaintiffs’ reliance upon Davis v. NYCHA, 60 F. Supp. 2d 220 (S.D.N.Y 1999),

support their argument that integrating less constitutes perpetuation of segregation. In Davis,

there was a consent decree directing the desegregation of certain NYCHA properties. Thus,

instances where the challenged policy significantly delayed that desegregation were deemed to

perpetuate segregation. There is no such consent decree in this case directing how the City

should allocate its affordable housing, nor is there any legal obligation that the City allocate its

housing to achieve the maximum integrative effect at all times, regardless of other legitimate

policy goals. Nothing in Davis stands for the proposition that if the status quo integrates, the City

can nevertheless be liable for perpetuation of segregation because removing a component of the

status quo would trivially increase that integrative effect.

       The amicus curiae’s argument that the CP policy should not be looked at as part of the

Lottery Process because then that would allow a municipality to “nest purposefully an

integration-stymieing policy within a broader policy” likewise fails. See Amicus brief at 19. If a

municipality purposefully sought to stymie integration, then the municipality could potentially be

liable for intentional discrimination. However, what we are dealing with here is the perpetuation

of segregation prong of disparate impact, in which the intent to discriminate need not be proven.

In any event, as demonstrated above, there is no intentional discrimination behind the CP policy.




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       The amicus curiae further makes the specious argument that the City’s position is akin to

a public housing authority in a white suburban area claiming that their housing voucher program

with a local preference integrates as it is more integrative than no housing voucher program.

Such hypothetical analogy has no relevance to the facts before this Court. The City is not

claiming that the lottery with the CP policy is more integrative than no lottery. The City

acknowledges that the lottery would be trivially more integrative without the CP policy, but

asserts that, because the lottery is integrative with the CP policy in place, there should not be a

finding that the CP policy perpetuates segregation. The relevant question is whether, when a

policy is integrative, a component of that policy can nonetheless be deemed to perpetuate

segregation because it results in less than the maximum possible integration. The City asserts

that the answer to that question is no and neither Plaintiffs nor the amicus curiae have provided

case law to the contrary.

       Adopting Plaintiffs’ (and the amicus curiae’s) interpretation of perpetuation of

segregation to include policies that achieve less than the maximum possible integration would

have extreme practical ramifications for municipalities. Such an interpretation would require

municipalities to assess each component of their policies and programs to ensure that they are as

integrative as possible compared to not pursuing that component of the policy or program, even

if the policy or program overall is integrative. In other words, it would require municipalities to

prioritize maximizing integration over any other policy goal as, under Plaintiffs’ definition, if not

pursuing the policy or component of a policy or program is more integrative than pursuing it, the

municipality must abandon the policy/component, or be threatened with liability for perpetuating

segregation. The law does not require a municipality to maximize integration, but prohibits the




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municipality from taking actions that perpetuate segregation. There is a distinction between the

two that cannot and should not be muddled in the manner Plaintiffs seek.

        While Plaintiffs claim that the City could then simply assert a defense of a legitimate

governmental interest, the point is that the City (and other municipalities) should not have to be

vulnerable to claims of perpetuation of segregation or findings of a prima facie case of

perpetuation of segregation in the first instance under such circumstances. The City should not

be forced to justify every policy or component of a program in litigation when the policy or

program is overall actually integrative, and when there was no rejection of a more integrative

alternative that addresses the City’s interests. Such an outcome is inconsistent with the Supreme

Court’s ruling in Inclusive Communities.49 Indeed, the Supreme Court opined that “[t]he FHA is

not an instrument to force housing authorities to reorder their priorities.” Inclusive Communities,

135 S. Ct. at 2522.

B.      The Dissimilarity Index is the Proper Measure and Plaintiffs’ Alternative
        Approaches are Improper

        Even if the Court were to find that integrating less can constitute perpetuation of

segregation, Plaintiffs would also need to demonstrate that the CP policy’s reduction of

integration is legally significant in size. See Davis 166 F.3d at 438, Huntington Branch NAACP

v. Town of Huntington, 844 F.2d 926, 938 (2d Cir.), aff’d, 488 U.S. 15 (1988). See also Gilmore

v. Montgomery, 417 U.S 556 (1974). Plaintiffs appear to concede this to be the case, as Dr.

Beveridge undertook new analysis in his initial declaration and in his reply attempting to

measure and demonstrate the practical significance of his perpetuation of segregation findings.

See Bev. Aug. Dec. Tables 12 and 13; Bev. Reply Tables 22-24 and 26. However, Dr. Beveridge

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  Nevertheless, as discussed in section IV, supra, and in the City’s initial Brief at 51-64, the CP policy serves
legitimate interests.



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did not properly undertake such measurements. First, Dr. Beveridge did not use the dissimilarity

index, which is the proper measure, as Dr. Siskin did.50 Second, as discussed below in subsection

(c), Dr. Beveridge’s calculations are flawed.

                  (a) The Dissimilarity Index is an Appropriate Measure of Integration

         As previously discussed, Dr. Siskin measured the CP policy’s impact on integration on

the dissimilarity index, the index commonly relied upon when measuring the overall level of

segregation in a city (and relied upon by Dr. Beveridge for this purpose). Dr. Siskin looked at

both the impact of the consideration stage, the stage in which the CP policy has its impact, and

compared the impact of the lottery on integration with and without the CP policy, thereby

isolating the impact of the CP policy. As Dr. Siskin demonstrated, the consideration stage

reduces the potential Black-White integrative effect of the lottery by .00053. Based on the

simulation, the lottery without the CP policy in place would be .00044 more integrative in the

Black-White pairing on the dissimilarity index. These are trivial effects. See Siskin Aug. Dec.

Tables 7 and 8.

         In an obvious effort to distract the Court from these undisputed facts, and faced with

having not undertaken any independent perpetuation of segregation analysis (despite it being

Plaintiffs’ burden), Plaintiffs have argued that assessing perpetuation of segregation with the

dissimilarity index is improper. Plaintiffs ask this Court to assess perpetuation of segregation

based upon how integrative CP beneficiaries are in comparison to non-CP beneficiaries (and it is

not in dispute that both groups are integrative). In other words, they ask this Court to ignore the

actual measurement of the impact of the CP policy on the dissimilarity index and instead assume



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   Additionally, as previously discussed, Dr. Beveridge’s analysis is flawed in that it compares the integrative effect
of CP beneficiaries with non-CP beneficiaries. See Siskin Aug. Dec. ¶¶ 134-135.



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that because non-CP beneficiaries are more integrative than CP beneficiaries (although Plaintiffs

admit that both groups are net integrative) that there would be even greater integration without

the CP policy in place.

         Plaintiffs’ arguments as to why the use of the dissimilarity index is not appropriate fail. 51

Plaintiffs first argue that courts do not look to the dissimilarity index as a tool to measure

perpetuation of segregation. While it is true that the cases cited to by Plaintiffs do not use the

dissimilarity index, it is also true that Plaintiffs cite to no cases in which a court has held that

using the dissimilarity index is improper, nor is the City aware of any such case. As Dr.

Beveridge has recognized, much more data is available in this case than is typical in other fair

housing cases. See Bev. Reply ¶ 112. Other cases likely did not have the correct data to

undertake such analysis. Simply because other experts have not pursued this approach does not

mean that it is improper.

         Plaintiffs next argue that because of an issue of scale, use of the dissimilarity index would

“undermine” the FHA because it would make it possible that “every or nearly every case [would

be] thrown out.” Pls. Reply at 35. Plaintiffs explain this assertion by claiming that given the

large number of housing units in New York City (and other jurisdictions), no housing policy that

would be challenged in a FHA case could move the dissimilarity index on its own. Yet that is not

true even in this case. Dr. Siskin demonstrated that if, hypothetically, all the units studied had

been filled with awardees that had an integrative effect, or, conversely, had been filled with

awardees that had a segregative effect, the dissimilarity index would shift by .011. See Siskin

Aug. Dec. ¶ 116; Siskin Reply ¶ 103. While this may appear to be a small change, the

51
  Plaintiffs’ attempt to undermine Dr. Siskin’s use of the dissimilarity index by pointing out that he is less familiar
with housing segregation than Dr. Beveridge is. However, Dr. Beveridge, who purports to be a segregation expert,
put forth no perpetuation of segregation analysis, and relied upon Dr. Siskin’s findings.



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dissimilarity index is typically reported in the second decimal place, and, therefore a change in

the second decimal place is meaningful. If the CP policy and, more generally, the lottery process

had truly perpetuated segregation (which they do not), the dissimilarity index could have been

impacted in a meaningful manner in this case. Consequently, there is no reason to find that the

real change in the dissimilarity index in the fourth decimal place is meaningless in this case; in

fact, it clearly shows that the CP policy did not perpetuate segregation meaningfully. While an

issue of scale may be a concern with using the dissimilarity index in other cases, it is not an issue

here, and thus there is no reason to dismiss its findings.52

                 (b) Plaintiffs’ Alternative “Measures” are Improper

        Plaintiffs present two alternative “measures” to the dissimilarity index. Originally, they

compared the net integrative effect of CP beneficiaries with non-CP beneficiaries based upon Dr.

Siskin’s analysis findings. Although Dr. Beveridge concedes that the net integrative numbers

were calculated consistent with calculating the dissimilarity index, see Bev. Reply ¶ 103, he did

not take the next logical step to calculate the dissimilarity index, but instead converted the net

integrative numbers to ratios, and then undertook an “80% test.” See Bev. Mar. Dec. Tables 12,

13; Bev. Reply Tables 22, 23. Second, for the first time in his reply declaration, Dr. Beveridge

compared the integrative effect of the simulation with the CP policy in place to the integrative

effect of simulation without the CP policy. See Bev. Reply Table 26. Yet again, Dr. Beveridge

did this through his “80% test” rather than absolute numbers.53 As Dr. Siskin explained, the 80%



52
   It is worth noting that despite arguing that the dissimilarity index is not the proper measure, Dr. Beveridge’s
“analysis” is based upon the measures created for use on the dissimilarity index (the net integrative numbers).
Rather than taking the expected next step to assess the practical significance of those numbers on the dissimilarity
index, he has created ratios to skew the absolute results.
53
  This differs from the new analysis he improperly presented in his initial declaration, which attempted to measure
the difference between the CP beneficiaries and non-CP beneficiaries using ratios and his “80% rule.”



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rule is not applicable here as there is no selection rate,54 nor has Dr. Beveridge explained why the

80% threshold in such a circumstance would be appropriate. Indeed, if one were to compare a

dissimilarity index rating of .80 with a rating of .64, most demographers would believe that the

.16 difference is meaningful. However, applying the 80% rule, the conclusion would be that

there is no meaningful difference. See Siskin Reply ¶ 114.

           Furthermore, as demonstrated by Dr. Siskin, the absolute numbers are small and have a

trivial impact on the dissimilarity index, which is the barometer by which they are supposed to

be measured. As Dr. Siskin explained, the ratio makes the small absolute numbers look much

larger than they are. However, “[a] large percentage of a very small number is still a very small

number.”55 See Siskin Reply ¶116. Thus, as the dissimilarity index is measured in absolute

numbers, and the net integrative numbers that Dr. Beveridge uses are meant for application to the

dissimilarity index, the only value in converting these numbers to ratios is to give a false

impression that the differences are larger than they actually are.

                     (c) Dr. Beveridge’s Calculation of His Ratios is Incorrect

           Plaintiffs’ and Dr. Beveridge’s defense of Dr. Beveridge’s ratios is so extensive that one

would think the calculation of Dr. Beveridge’s ratios is the key issue in dispute regarding

whether the CP policy perpetuates segregation. To the contrary, Dr. Siskin’s attack on the

calculation is simply a small technical attack on Dr. Beveridge’s methodology, that is in addition

to Dr. Siskin’s substantive attacks on other grounds. Siskin Aug. Dec. Section V. Nevertheless, if

one were to adopt Dr. Beveridge’s flawed methodology, it is important to note that his


54
     Wherever Dr. Siskin relies upon the 80% rule, there is a selection rate at issue.
55
  The example Dr. Siskin provided is that a $20 raise on a salary of $100,000 is twice as large as a $10 raise on a
salary of $100,000. Saying the raise was twice as large makes it appear large, but in reality, the difference between
$10 and $20, when compared to a $100,000 salary, is trivial. See Siskin Reply ¶ 115.



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conversion of the net integrative numbers to ratios (which are then used to calculate his “80%

test”) is done improperly. As Dr. Siskin demonstrated in his Illustration 2, Dr. Beveridge’s

denominator that excludes the “not in group” causes inconsistent results and exaggerates the

difference between the net integrative effect of CP and non-CP beneficiaries. See Siskin Reply

Illustration 2; ¶¶ 119-121.

        While Dr. Beveridge’s new tables comparing his method to what he claims is Dr. Siskin’s

method (Bev. Reply Tables 22, 23, and 24) do not show large differences in the calculation of his

80% test, it is the difference between the net integrative ratios that is exaggerated. It is that

exaggerated difference that Dr. Siskin previously pointed out. See Siskin Reply ¶¶ 123-126 and

Illustration 2; Siskin Aug. Dec. ¶¶ 136; 138-140. Dr. Beveridge’s calculation of his ratio makes it

appear as if the net integration of non-CP beneficiaries is 10% higher than that of CP

beneficiaries, when in fact it is only 5% greater, therefore doubling the impact of the CP policy.

See Siskin Reply ¶ 125. Thus, Dr. Beveridge’s new 80% rule tables fail to respond to Dr.

Siskin’s criticism about the exaggerated differences between the net integrative ratios and are

absolutely irrelevant.

C.      Dr. Beveridge’s New Attack on the Simulation is Meritless

        As he also argued in the context of disparate impact, Dr. Beveridge argues for the first

time that the perpetuation of segregation simulation results dilute the true effect of the CP policy.

See Bev. Reply ¶¶137-38. As discussed above in the disparate impact section, the CP policy does

not only affect the 50% of units with CP, but effects all the units.56 This is just another example

of Dr. Beveridge’s choice to not analyze all the data in an effort to exaggerate outcomes. As Dr.

56
  Furthermore, this “dilution” argument does not apply to the consideration study. Dr. Siskin demonstrated that the
consideration stage has the result of reducing the amount of Black-White integration by .00053. This is a
conservative estimate of the impact of the CP policy, as factors other than the CP policy influence which applicants
are considered. See Siskin Aug. Dec. Table 7; Siskin Reply ¶ 91 fn 7.



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Siskin demonstrated in his Illustration 1, accounting for only the units reserved under the

preference policy can lead you to the absurd result that removing the 5% Municipal Employee

preference policy (“ME preference”)57 is more integrative than removing the CP policy. See

Siskin Reply ¶ 90; Illustration 1. Therefore, Dr. Beveridge’s new dilution theory is nothing more

than another desperate attempt to inflate the purported impact of the CP policy. 58

                                                   POINT IV

                          THE CP POLICY IS NECESSARY                                 TO
                          ACHIEVE VALID INTERESTS

        As the City stated in its previous briefing, the CP policy is necessary to address two

significant, bona fide public policy issues: preventing the displacement of low-income residents,

thereby giving them a greater opportunity to remain in their communities if they choose, and

responding to the fear of displacement, which in turn helps overcome opposition to the

construction of new affordable housing and helps garner necessary approvals for affordable

housing. See City’s Aug. Brief at Point IV at 51-63.

        Plaintiffs make three primary arguments in response. First, they continue to assert that

these interests are speculative, trying to convince the Court to impose an unsupported evidentiary

standard necessitating statistical evidence. See Pls. Brief at 42. Second, in an attempt to

overcome the Plaintiffs’ agreement that addressing displacement is a legitimate government

interest, Plaintiffs attempt to make it seem as if the City suddenly changed its rationale for the

CP policy, so that they can “dispute” that “new” rationale as insubstantial. Finally, Plaintiffs

further continue to mischaracterize the role that the CP policy plays in supporting the

57
 The ME preference gives preference to City employees for 5% of the affordable housing units in a lottery. See the
Declaration of Margaret Brown, dated August 14, 2020 (ECF 900) at ¶ 17.
58
  This “dilution” argument does not apply to either of Dr. Siskin’s consideration studies, the validity of which are
undisputed. See Siskin Reply ¶ 91 and fn 27.



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development of affordable housing, attempting to transform the City’s appropriate response to a

legitimate concern into a nefarious political scheme. These attempts to undermine the validity

and substantiality of the legitimate interests served by the CP policy fail.

A.     The City’s Interests are Not Speculative and the Evidentiary Standard Plaintiffs
       Seek to Impose is Unsupported by the Law

       Plaintiffs’ assertions that displacement and the fear of displacement are speculative and

that the CP policy is not designed to achieve the prevention of displacement from one’s

neighborhood lack merit. Plaintiffs have cited to no case law to support the evidentiary burden

they seek to impose, which would include data measuring the scope of the displacement and

measuring the CP policy’s success in addressing displacement. The case law they rely upon of

course mandates the defendant to produce some evidence in support of the legitimacy of their

non-discriminatory interest, but such cases do not impose the data-driven evidentiary standard

Plaintiffs claim is applicable.

       As the Second Circuit explained in Huntington, “the inquiry is whether the proffered

justification is of substantial concern such that it would justify a reasonable official in making

this determination. Of course, a concern may be non-frivolous, but may not be sufficient because

it is not reflected in the record.” Huntington, 844 F.2d at 939. Unlike in Huntington, there is

ample evidence in the record supporting the City’s interests and a clear demonstration of how

these interests and the CP policy intersect. See Been Dec., generally; Goetz Aug. Dec., generally;

Goetz Reply, generally; Polifione Aug. Dec. Exs 4-40, 53-57, and ¶ 42; Polifione Reply Dec.

Exs 67 -71, 74-80, 82-84. Plaintiffs’ attempt to ignore this evidence and impose an evidentiary

burden that most municipalities would never be able to meet should be rejected.

       In order to run an efficient and fair process to distribute the City’s precious affordable

housing, the City does not try to determine whether each recipient of a CP unit is at risk of


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displacement at the time of submitting their application. This by no means undermines the CP

policy’s impact on addressing displacement in New York City. Plaintiffs’ own expert has

demonstrated that approximately 70,000 affordable housing CP beneficiary applicants are rent

burdened, which is his definition of at risk of displacement. See Bev. Mar. Dec. ¶ 197. There is

also a severe affordable housing crisis in New York City, with more than half of renters in New

York City considered rent burdened. See Been Dec. at ¶ 33. Thus, there is no reason to believe

that the recipients of CP units are not at risk of displacement by Plaintiffs’ own definition. Nor

does the fact that the CP policy may be over-inclusive in benefitting some people who are not at

risk of displacement undermine its legitimacy. The law does not require such perfect tailoring.

       Moreover, the fact that non-CP beneficiaries are also at risk of displacement is of no

moment. As Professor Goetz explained, “[t]he fact that households who live outside of the CD

are also at risk of displacement in no way diminishes the utility and importance of a policy like

community preference that protects households within a particular CD from being displaced

from their communities when new development comes to their neighborhoods. When a lottery

occurs in their CD, the CP policy will be in place to enhance their chances of staying in that CD

should they wish to apply. The legitimacy of that opportunity does not depend on whether there

is a risk of displacement elsewhere in the City.” Goetz Reply at ¶ 62. Furthermore, given the

scope and complexity of the issue, the CP policy is just one of many anti-displacement tools

intended to help New Yorkers.

       Similarly, the City’s inability to measure precisely the scope of neighborhood

displacement does not delegitimize the City’s interests in preventing displacement. As Professor

Goetz explained, “government agencies routinely address public policy questions that they

cannot precisely quantify. To constrain the government from acting on such issues would be to



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keep it from addressing carbon emissions, homelessness, child abuse, and a range of additional

problems that observers agree are pressing though there is no agreed upon estimate of the precise

size of the problem.” Goetz Reply ¶ 66. While of course data is helpful to formulate and assess

policy, contrary to Plaintiffs’ assertions otherwise, the lack of such data does not negatively

reflect on the need for or efficacy of a policy.

        Additionally, it is well understood that measuring displacement is complex. See Goetz

Aug. Dec. ¶ 24; Been Aug. Dec. at ¶ 69; Polifione Reply Dec. Ex 79 (Beveridge deposition at

30:16-32:9). Nevertheless, even without a concrete study, the City has a plethora of other data

and information at its disposal from which the City can assess the need to prevent displacement

from one’s neighborhood. See City’s Aug. Brief at 58-59; Polifione Reply. Dec. Ex 84; Been

Dec. at ¶ 69.59

        Plaintiffs make the same meritless complaints with regard to the City’s interest in

addressing and overcoming the fear of displacement. They also continue to misrepresent the

context in which the CP policy is responsive to the fear of displacement in order to make it seem

like an “amorphous” rationale. The CP policy is responsive to the fear of displacement from

one’s neighborhood, which is often expressed by New Yorkers during the public review process

that many affordable housing projects (or rezonings to facilitate same) must undergo. Many low-

income communities oppose the construction of affordable housing, because they fear that a

housing development or the amenities that accompany such development will trigger or further

facilitate increasing rents and higher costs of living in their neighborhood, consequently making
59
   For examples of presentations given by Deputy Mayor Been when she was HPD Commissioner in which data
points relevant to displacement were noted and discussed, see Ex 40. For more information on the HVS and DCP
demographic studies specifically, see Been Dec. at ¶ 69, n. 48 and n. 49. Moreover, this data and information used
by the City to understand displacement is in addition to the anecdotal evidence heard by the City through multiple
types of interactions with the public, community groups and council members, see fn 60, infra.




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it unaffordable for them to stay in their community. See Goetz Reply at ¶ 38; Been Aug. Dec. ¶¶

47, 56; Polifione Aug. Dec. Exs. 38-39, ¶ 42. HPD is regularly asked to confirm the applicability

of the CP policy at public meetings with regard to specific developments or accessing affordable

housing more generally. See Been Aug. Dec. at ¶¶ 46, 48, 53, 59. Being promised that half of

new affordable homes will go to existing community members helps overcome the connection

that many residents have made between displacement and new development, which helps

overcome some of the opposition to the development of new affordable housing. Additionally, as

Plaintiffs do not contest that displacement is a concern, it is illogical that they discount the fear

of displacement and ignore the City’s clear evidence that it is responding to these concerns of

residents.

       Although Plaintiffs claim that the fear of displacement is not supported by the evidence,

despite the numerous documents and public hearing transcripts and articles provided to the

Court, see Polifione Aug. Dec. Exs. 6, 8-10, 12-13, 15-33, 35, 38-39, and ¶ 42, Plaintiffs

themselves make a wholly unsupported argument that the CP policy must increase the fear of

displacement for non-CP beneficiaries. Moreover, this assertion again makes no sense when one

understands the context in which the fear of displacement that the CP policy is aimed at

addressing is expressed—i.e. when new development is being proposed in one’s neighborhood.

       In sum, Plaintiffs want a data driven, clearly quantified answer as to exactly how many

households at risk of displacement or that feared displacement were helped by the CP policy,

which the City admittedly does not have. However, the case law does not support placing such a

burden on the City. Further, Plaintiffs ignore the copious amounts of evidence presented

regarding displacement and the impassioned voices of residents fearing being displaced as new




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development comes to their neighborhoods.60 There is nothing speculative about the City’s

interests.

B.      Preventing Neighborhood Displacement is a Substantial Interest

        Desperate to overcome their and their experts’ agreement regarding the legitimacy of

preventing displacement and the need to address displacement as a public policy issue, Plaintiffs

are trying to make it appear that the City is just now revealing that the CP policy is only meant to

address neighborhood displacement and not imminent displacement from one’s home. See Pls.

Reply at 48-49. They are now claiming that displacement from one’s neighborhood is not a

substantial interest, while continuing to note their agreement that displacement from one’s home

and the city are legitimate and substantial. Pls. Reply at 50. First, there is nothing new about the

fact that the CP policy is directed at preventing displacement from one’s neighborhood or that it

does not address imminent displacement. The City has never said otherwise, and has openly

acknowledged this throughout discovery and elsewhere.61

        Second, simply declaring that working to prevent neighborhood displacement is not

substantial, as Plaintiffs have done, does not mean that it is in fact not a substantial government

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  Specifically, for examples of email and other correspondence between community members or community groups
and the City regarding fears of being displaced, see Polifione Aug. Dec, Exs 6, 9-10, 12, 19, 21-22, 24, 26, 31 and
31. For examples of news articles reporting on communities’ fears of displacement, see id. Exs 8, 15-18, 25, 27-30,
and 32. For examples of other documents and memoranda documenting expressed community fear of displacement,
see id. Exs 13-14, 20, 23, and 33. For examples of ULURP testimony, CPC reports and videos of hearings in which
displacement concerns were voiced, see id. Exs 38-39 and ¶ 42.
61
   In multiple depositions, Plaintiffs’ counsel thought to ask witnesses about “imminent” displacement. No witness
answered in a manner in which Plaintiffs would believe that the CP policy addressed imminent displacement.
However, if there was any confusion or uncertainty about the connection if any between the CP policy and
“imminent displacement,” he failed to follow up or further clarify how or if the CP policy was meant to address
what plaintiffs meant by “imminent” displacement. For example, in Deputy Mayor Been’s first deposition, Plaintiffs
asked her about imminent displacement and after she answered, never followed up for further clarification. See
Polifione Reply Dec., Ex 67 (Been Depo I at 103:12- 111:7). They also asked former HPD Commissioner Torres-
Springer at her deposition how the CP policy assisted with “imminent” displacement. She explained that it helped
affordable housing to be approved and built and that residents would have an opportunity to live in those new units.
Her response on how the CP policy helps address displacement and the fear of it, it consistent with how it has been
explained by the City throughout this litigation and this briefing. See id., Ex 71 (Torres-Springer Deposition at
113:19-114:12, 157:5-157:17); see also id. Ex 75 (Weisbrod Deposition at 62:7-18, 133:14-134:14).



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interest or that they have created an issue of fact. See Pls. Reply at 50. See Farley 1994 U.S.

Dist. LEXIS 5589, at *9-11. This is especially true when they have willfully ignored the

evidence presented to them. It is well established that residents can have close ties to their

neighborhoods, that being forced out of their neighborhoods can and does have harms, and that

the City is aware of these facts. See Been Dec. at ¶ 71; Goetz Aug. Dec. ¶¶ 41-50.

       Plaintiffs’ argument shows their complete disregard for the seriousness of displacement

as a public policy issue and the serious harms of displacement. See Goetz Aug. Dec. ¶¶ 41-50.

That the CP policy focuses on displacement from one’s community does not make it any less

important a public policy issue. The City has policies and programs that are intended to address

the multifaceted nature of displacement, including preventing imminent displacement from one’s

home through eviction, and the non-imminent displacement from one’s neighborhood through

gentrification. See Been Aug. Dec. at ¶¶ 67, 76-78. Plaintiffs’ judgement on which facet of

displacement warrants a public policy response and which does not, does not undermine the

legitimacy of the CP policy.

       Moreover, the fact that Deputy Mayor Been agrees that having housing is more important

than where that housing is located does not mean that the interest to prevent displacement from

one’s neighborhood is not valid and substantial. See Pls. Reply at 50. By Plaintiffs’ standard, a

legitimate policy becomes “insubstantial” because there are other significant housing issues, or

even housing (or non-housing) issues of equal or greater importance. This is one of many “false

choices” that Plaintiffs seek to impose. See Goetz Reply ¶¶ 6, 11, 25.

       Displacement is multifaceted and the anti-displacement tools are likewise multifaceted.

There is nothing frivolous or insubstantial about preventing neighborhood displacement of low-

income residents and being responsive to the legitimate fear of displacement. This is particularly



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true given the history of displacement of Black and Brown communities from their homes and

neighborhoods. See Goetz Aug. Dec. ¶¶ 75, 79.

       Creating another false dichotomy, Plaintiffs claim that the City prefers “insiders.” The

City is not choosing insiders over outsiders, nor is the City choosing a desire to not be displaced

from one’s neighborhood over a desire to move from one’s neighborhood. The City has policies

and programs in place to help generate mobility, including by supporting the development of

57,119 new affordable housing units across the city since 2014, passing the most aggressive

mandatory inclusionary housing legislation in the country (“MIH”), and lobbying to expand the

applicability of the 421-a tax exemption so that more affordable housing can be built in more

places across the city. At the same time, the City is investing in neighborhoods that have lacked

investment for many years, helping residents that want to stay in their neighborhood during these

positive changes to their neighborhood be able to do so, despite displacement pressures, as well

as addressing other aspects of displacement. See Been Aug. Dec. at ¶¶ 3, 24-27; 76-78. That

Plaintiffs and presumably many New Yorkers value mobility does not mean that the City’s

interests in preventing displacement are invalid.

       Plaintiffs’ continued reliance upon Housing Connect data to attempt to demonstrate that

applicants prefer to live outside their CD is misplaced. Dr. Beveridge himself conceded that he

does not know what it shows in terms of preferences. See Ex. 45 to the Polifione Aug. Dec.

(September 24, 2019 Beveridge Deposition at 112:24-113:1). Plaintiffs also point to single page

of the community conversations report, which was part of the WWL process, quoting the portion

of the page that they believe helps them (that many residents ended up in neighborhoods due to

circumstances out of their control), but ignoring the large graphic on the page that states that

55% of the people surveyed would like to remain in their neighborhoods. See MD Ex. 11. In



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contrast, in addition to WWL, the City is relying upon the countless expressions of community

members and leaders about the fear of being displaced from one’s home and community.

Plaintiffs conveniently ignore this evidence the City has provided.

       As to Plaintiffs’ argument that the CP policy is a “misleading” response to the fear of

displacement, this is just another iteration of their argument that the CP policy is not valid unless

it prevents the displacement of all applicants at risk of displacement. There is no evidence that

the City promises all community district members housing. The promise is a preference. Dr.

Beveridge has demonstrated that the CP policy does in fact result in a preference. See Bev. Aug.

Dec. Tables 2 and 5. If that preference were not meaningful, this litigation would not have been

commenced.

       Again, Plaintiffs fail to cite to any case law to support their assertion that helping to

prevent displacement from one’s neighborhood is not sufficiently substantial. Perhaps that is

because the case law clearly does not support Plaintiffs’ position. When ruling that a disparate

impact claim may be pursued under the FHA, fully understanding that the assertion of legitimate

government interests occurs after a finding of disparate impact, the Supreme Court

acknowledged that traffic patterns and historic preservation may constitute legitimate interests.

See Inclusive Communities, 135 S. Ct. at 2523. Similarly, in MHANY, the Second Circuit, after

affirming a finding of perpetuation of segregation, “agree[d] that [the d]efendants identified

legitimate, bona fide governmental interests, such as increased traffic and strain on public

schools.” MHANY, 819 F.3d at 620. Clearly if traffic, historic preservation, and a strain on

public schools are sufficient bona fide governmental interests, so is attempting to prevent the

displacement of low-income households from their communities and addressing those

households’ legitimate fear of displacement, which in turn helps overcome opposition to



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affordable housing. Plaintiffs’ arguments are nothing but desperate attempts to overcome this

case law and their own admissions regarding the significance and importance of responding to

displacement.

C.      Responding to a Legitimate Concern During the Legislative Process is Not
        “Enhancing Political Convenience”

        Plaintiffs yet again mischaracterize the City’s legitimate interest in addressing the fear of

displacement, which also helps overcome opposition to affordable housing, as “enhancing

political convenience.”62 Pls. Reply at 57. Plaintiffs emphasize that the City did not dispute that

“this kind of justification” is unprecedented, would undermine the FHA and City HRL, and is

speculative. Pls. Reply at 56. That is because the “kind of justification” Plaintiffs describe is not

the City’s rationale for the CP policy.

        There is nothing nefarious about the executive branch having a policy that addresses the

legitimate concerns of residents and legislators, such as the fear of displacement, which is also

helpful to overcoming opposition to affordable housing based upon those concerns. Moreover,

while the City Council is often the final decision maker on affordable housing projects, if a

project is so unsupported by the community during the earlier stages of the public review

process, it may never make its way to the Council. In other words, the opposition faced that the

CP policy helps overcome is not just from council members. Thus, while it is true that the City

has expressed that the CP policy helps overcome opposition to affordable housing, which in turn

helps get more affordable housing built, overcoming opposition from Councilmembers is only

one small component.



62
   Amicus curiae copy Plaintiffs’ arguments, and disregard the interests the City actually put forth, preventing
displacement from one’s neighborhood and mitigating the fear of displacement. Amicus curiae’s silence on the
legitimacy of those interests speaks volumes.



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        Plaintiffs’ argument that DM Been’s declaration is a “sham” because her statement in her

declaration stating that she is concerned that affordable housing projects would not get passed

without the CP policy is purportedly inconsistent with her deposition testimony is nothing but

desperate mud-slinging. Pls. Reply at 58. First, DM Been has been on record, prior to the

declaration, as have other City employees, as stating that there is a concern that affordable

housing would not be approved without the CP policy. See Polifione Reply Dec.63 Indeed,

Plaintiffs conveniently fail to inform the Court that during Deputy Mayor Been’s second

deposition, Plaintiffs’ counsel asked her to list those Councilmembers she believed would not

vote to approve an affordable housing project if the CP policy were less than 50%, and that DM

Been proceeded to answer that question, naming particular Councilmembers based upon her

impressions during conversations with them. See Polifione Reply. Dec. Ex. 68 (Been II at 28:12

through 31:17).64 Deputy Mayor Been’s testimony in her first deposition was in response to

improper “but-for” hypotheticals, which is wholly irrelevant and not comparable to her

testimony in her second deposition and her statement in her declaration, which were based on her

personal experiences.

        Moreover, the speculative hypotheticals lack relevance to the legitimacy of the City’s

governmental interests.65 The City’s rationale for the CP policy is not that affordable housing

would never be built without it—but that there is currently significant opposition to affordable

63
   See Polifione Reply Dec., Ex 68 (Been II Deposition 104:13-105:13, 188:5-12); Ex 71 (Torres-Springer
Deposition at 123:5-124:5, 199:22-205:23), Ex 74 (Donovan Deposition at 130:3-131:16); Ex 75 (Weisbrod
Deposition at 37:2-39:4); Ex 76 (Cestero Deposition at 73:4-75:20); Ex 77 (Bozorg Deposition at 303:4-304:25); Ex
83 (Press Deposition at 98:5-99:2, 100:17-101:3, 103:3-104:11, 106:22-107:3, 108:3-112:3, 114:22-116:23, 117:9-
118:12).
64
  Former HPD Commissioner Torres-Springer likewise provided such a list. See Polifione Reply Dec., Ex 71
(Tores-Springer Deposition at 121:8 – 121:21).
65
   Indeed, lack of relevance was part of Magistrate Judge Parker’s rationale for granting the City’s motion to quash
discovery from the councilmembers. See ECF 183. This Court found that Judge Parker’s decision was not clearly
erroneous or contrary to the law. See ECF 656.



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housing by community members and councilmembers out of the fear of the displacement of low-

income community members. That fear is a legitimate fear, and consequently, important to

address in order to overcome that opposition and help get affordable housing built. Plaintiffs yet

again mischaracterize the City’s interests to suit their needs.66

         Finally, Plaintiffs continue to rely upon a public statement made by Speaker Johnson over

two years ago about his apparent willingness to consider a reduction in the CP policy. However,

nothing has materialized from this statement. Whether DM Been or anyone in the administration

spoke to Speaker Johnson about his comments is of no moment. Speaker Johnson himself has not

acted on his comments. See Been Aug. Dec. at ¶ 93, n. 74.

         In sum, Plaintiffs’ attacks on the City’s interests as lacking evidentiary support,

insubstantial, and nefarious political games are unsupported by the facts and the law. The City

has more than met its burden, and thus the burden shifts back to Plaintiffs.67

                                                      POINT V

                            THERE ARE NO LESS DISCRIMINATORY
                            ALTERNATIVES

         If the Court finds that the City established that the CP policy serves its legitimate

government interests, then the burden shifts to Plaintiffs to show “that [there] is ‘an available

alternative . . . practice that has less disparate impact and serves the [entity’s] legitimate needs.’”

66
   Plaintiffs’ appear to be attempting to re-litigate this Court’s decision overruling Plaintiffs’ objection to Magistrate
Judge Parker’s decision granting the City’s motion to quash discovery from Councilmembers. See ECF 656.
Contrary to Plaintiffs’ assertions, there is nothing “unfair” about that decision. As noted above, Plaintiffs’
mischaracterize Deputy Mayor Been’s prior testimony, and the City’s rationale for the CP policy. The City is not
relying upon the testimony of Councilmembers, which this Court previously explained, “mitigat[es] the fairness
concerns.” ECF 656 at 3. Further, Plaintiffs’ reliance upon cases addressing waiving the attorney-client privilege on
fairness grounds is misplaced. The attorney-client privilege is not applicable here, nor is the City asserting a
rationale for the CP policy that Plaintiffs have not been able to undertake discovery of. As noted above, there is
nothing new about Deputy Mayor Been’s statement in her declaration regarding her concern about not being able to
get affordable housing passed.
67
  Alternatively, even if the Court does not agree that the City established its defense as a matter of law, certainly the
City raised issues of fact that necessitate denying Plaintiffs’ motion for summary judgment.



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Inclusive Communities, 135 S. Ct. at 2518 (quoting Ricci v. DeStefano, 557 U.S. 557, 578

(2009)). While Plaintiffs are correct that it is the City’s burden of persuasion under the City HRL

to demonstrate that the proposed alternatives would “not serve [it] as well,” Plaintiffs have not

met their burden to first demonstrate through “substantial evidence” that there is an alternative

policy that is less discriminatory. See N.Y.C. HRL (Admin. Code § 8-107(17)(a)(2)). Moreover,

even if, arguendo, they had met such burden, the City has demonstrated how Plaintiffs’

proposals will not meet its needs. See Been Dec. at ¶¶ 82-95.

       To the extent that Plaintiffs are arguing that under the FHA, the alternatives proposed

need not meet the City’s interests “as well,” such argument lacks merit. Alternatives must be

reasonable and “comparable.” Bryan v. Koch, 627 F.2d 612, 619 (2d Cir. 1980).68 An alternative

that does not meet the City’s interests “as well” is neither reasonable nor comparable. However,

this issue is nothing but a red-herring, as Plaintiffs alternatives fail to address the City’s interests

whatsoever. In fact, many are based upon the assumption that the City’s interests are not

legitimate.

       In their brief, Plaintiffs propose what they would consider nine alternatives to the CP

policy. They are the following: (1) be honest with the public about the policy, (2) an education

campaign to inform CMs and residents about the need to reduce residential segregation to the

maximum extent possible and the need to fight the affordable housing crisis on a citywide level,

(3) communicate improvements in rent regulations and tenant protections, (4) build and preserve

more affordable housing throughout the city to combat neighborhood displacement, (5) mobility

counseling, (6) provide funding for neighborhood renewal and enhancement, (7) implement a no

net loss policy, (8) eliminate the “councilmanic veto”, and/or (9) merge CDs to create preference




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areas that more closely match the citywide racial demographics.69 Even now, after further

explanation of what they propose, Plaintiffs’ purported alternatives still fail to serve the City’s

legitimate needs and to have less of a disparate impact.70

           None of these alternatives are new or substantially expanded from earlier statements by

Plaintiffs and their experts, which the City addressed in its initial brief and filings.71 Plaintiffs

are silent in response to the City’s explanations as to why these alternatives are not valid

alternatives, and the City’s explanations, as stated in its initial brief at 64-67 and Been Aug. Dec.

at ¶¶ 82-95, remain the same. Plaintiffs have failed to actually explain or show how any of them

would meet the “serves the entity’s legitimate needs” requirement and the “less disparate

impact” requirement.

           Indeed, none of Plaintiffs alternatives even purport to address the same interests as the

CP policy. Clearly unable to respond to the City’s explanations for why Plaintiffs’ “alternatives”

fail, they try to convince the Court that the City’s priorities should be different. Yet when we

reach this stage in the burden shifting, it has already been established that the City’s interests are

legitimate. Contrary to Plaintiffs’ assertion that the City “misapprehends” their alternatives, Pls.

Reply at 63, Plaintiffs “misapprehend” their burden. Thus, as Plaintiffs’ have failed to meet their




69
  Orfield makes the same could be “alternatives,” which mirror the alternatives presented in Plaintiffs’ brief. See
Orfield Dec at ¶¶ 99-133. Additionally, for the first time in the summary judgment briefing, Dr. Beveridge also
presents his opinions on Plaintiffs’ proposal to combine CDs. See Beveridge Reply at ¶¶ 178-182. It should be noted
that also did not address the reasons Deputy Mayor Been explained by it would not be easily understandable if the
policy was applied to multiple CDs, instead he focused on explaining why it would reduce any disparate impact.
However, Dr. Beveridge – Plaintiffs’ data and statistical expert – provided no data or analysis to support that
combining CDs would (let alone by how much) would reduce any disparate impact.
70
  Although the City has shown that there is no discriminatory effect caused by the CP policy, as explained above in
Points II and III and so there is no need to reach this analysis, for the purposes of this section, the City will assume
that the policy was found to be discriminatory so as to need to undergo this stage of the legal analysis.
71
     The City has filed a Daubert motion seeking to exclude Professor Orfield’s declaration and opinions.



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burden to demonstrate that there is a less discriminatory alternative to meet the City’s legitimate

interests, the City is entitled to summary judgment.

                                        CONCLUSION

               In light of the foregoing, Plaintiffs’ motion for partial summary judgment should

be denied and Defendant’s cross-motion for summary judgment on all of Plaintiffs’ claims

should be granted.

Dated:         New York, New York
               February 11, 2021


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